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15                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
16
     GEORGE W. WOOLLEY, TAMMY S.              Case No.: 3:17-cv-01258-LB
17
     WOOLLEY, MICHAEL G. PEKEL,
     ANTHONY LOOK, JR., KIMBERLY              SECOND AMENDED
18                                            CLASS ACTION COMPLAINT
     LOOK, GRACHIAN L. SMITH,
19   MARY J. LOUDENSLAGER-SMITH,            1. VIOLATION OF THE “UNFAIR” PRONG
     ALEJANDRO MARCEY, and FELICIA             OF CAL. BUS. & PROF. CODE § 17200, et
20   MARCEY, individually and on behalf of     seq. AGAINST YGRENE ENERGY FUND,
     all others similarly situated,            INC.;
21                                          2. VIOLATION OF THE “FRAUDULENT”
                        Plaintiffs,            PRONG OF CAL. BUS. & PROF. CODE §
22                                             17200, et seq. AGAINST YGRENE ENERGY
                                               FUND, INC.;
23         v.                               3. VIOLATION OF THE FLORIDA
                                               DECEPTIVE AND UNFAIR TRADE
24   YGRENE ENERGY FUND, INC.;                 PRACTICES ACT;
     YGRENE ENERGY FUND FLORIDA,            4. TORTIOUS INTERFERENCE WITH
25                                             CONTRACT;
     LLC; and DOES 1 through 10, inclusive,
                                            5. FRAUDULENT INDUCEMENT;
26                                          6. NEGLIGENT MISREPRESENTATION;
                        Defendants.         7. UNJUST ENRICHMENT; and
27                                          8. NEGLIGENCE.
28                                          DEMAND FOR JURY TRIAL

                                                  1
                                SECOND AMENDED CLASS ACTION COMPLAINT
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1                       SECOND AMENDED COMPLAINT FOR DAMAGES

 2          Plaintiffs, George W. Woolley, Tammy S. Woolley, Michael G. Pekel, Anthony Look,

 3   Jr., Kimberly Look, Grachian L. Smith, Mary J. Loudenslager-Smith, Alejandro Marcey, and

 4   Felicia Marcey, individually and on behalf of all others similarly situated, hereby sue Ygrene

 5   Energy Fund, Inc. and Ygrene Energy Fund Florida, LLC (“Ygrene” or “Defendants”), and state

 6   and allege as follows on information and belief:

 7                                            THE PARTIES

 8          1.      Plaintiff, George W. Woolley, is a resident of Broward County, Florida.

 9          2.      Plaintiff, Tammy S. Woolley, is a resident of Broward County, Florida.

10          3.      Plaintiff, Michael G. Pekel, is a resident of Miami-Dade County, Florida.

11          4.      Plaintiff, Anthony Look, Jr., is a resident of Sacramento County, California.

12          5.      Plaintiff, Kimberly Look, is a resident of Sacramento County, California.

13          6.      Plaintiff, Grachian L. Smith, is a resident of Broward County, Florida.

14          7.      Plaintiff, Mary J. Loudenslager-Smith, is a resident of Broward County, Florida.

15          8.      Plaintiff, Alejandro Marcey, is a resident of San Diego County, California.

16          9.      Plaintiff, Felicia Marcey, is a resident of San Diego County, California.

17          10.     Defendant, Ygrene Energy Fund, Inc., is a Delaware corporation with

18   headquarters located in Sonoma County, California.

19          11.     Defendant, Ygrene Energy Fund Florida, LLC, is a Florida limited liability

20   company with headquarters in Tampa, Florida.

21          12.     The true names and capacities of Defendants DOES 1 through 10 are unknown to

22   Plaintiffs, and Plaintiffs will seek leave of court to amend this complaint to allege such names

23   and capacities as soon as they are ascertained. Each of the Defendants herein was the agent, joint

24   venturer, or employee of each of the remaining Defendants, and in doing the things hereinafter

25   alleged, each was acting in the course and scope of said agency, employment or joint venture

26   with advance knowledge of, acquiescence in or subsequent ratification of the acts of each and

27   every other remaining defendant. Each of Defendants 1 through 10 is responsible, legally,

28   negligently or in some other actionable manner, for the events and happenings hereinafter

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1    referred to, and caused injuries and damages proximately thereby to Plaintiffs and the Class as

 2   hereinafter alleged, either through co-defendants’ conduct or through the authorized and/or

 3   ratified conduct of its agents, servants or employees or in some other manner.

 4          13.      Ygrene and DOES 1 through 10 are collectively referred to herein as

 5   “Defendants.”

 6                                    JURISDICTION AND VENUE

 7          14.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because some Plaintiffs reside

 8   in a state different from Defendant, and Plaintiffs allege a national class, which will result in at

 9   least one class member belonging to a different state than that of Defendants. Plaintiffs seek

10   damages which, when aggregated among a proposed class numbering in the tens of thousands, or

11   more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court jurisdiction

12   under the Class Action Fairness Act (“CAFA”). Therefore, both the elements of diversity

13   jurisdiction and CAFA jurisdiction are present.

14          15.      Venue is proper in this Court pursuant to California Code of Civil Procedure

15   section 393 because some portion of the causes of action arose in this County and pursuant to

16   Civil Local Rule 3-2(c) because a substantial part of the events or omissions giving rise to the

17   claims herein alleged occurred in Sonoma County, California. Defendants further provide and

18   market their products and services within this district, thereby establishing sufficient contact to

19   subject them to personal jurisdiction.

20          16.      At all relevant times, Ygrene Energy Fund, Inc. and Ygrene Energy Fund Florida,

21   LLC were directly engaged in the business of marketing and facilitating PACE loans that are the

22   subject of this Complaint throughout the United States and the State of California.

23          17.      This Court has personal jurisdiction over Defendants. Facts giving rise to this

24   action occurred in the State of California. Defendants have been afforded due process because

25   they have, at all times relevant to this matter, individually or through their agents, subsidiaries,

26   officers and/or representatives, operated, conducted, engaged in and carried on a business venture

27   in this State, and/or maintained an office or agency in this State, and/or provided services,

28   committed a statutory violation within this State related to the allegations made herein, and

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1    caused injuries to Plaintiffs and Class Members, which arose out of the acts and omissions that

 2   occurred in the State of California, during the relevant time period, at which time Defendants

 3   were engaged in business activities in the State of California, resulting in injuries to Plaintiffs and

 4   Class Members.

 5                                      NATURE OF THE ACTION

 6          18.     This lawsuit seeks to protect consumers from (a) Ygrene’s deceptive sales

 7   practices, in which it enlists ill-trained and self-interested home improvement contractors to sell

 8   its Property Assessed Clean Energy (“PACE”) loans to homeowners, luring consumers into a

 9   major financial obligation without proper disclosures befitting such a momentous commitment;

10   and (b) Ygrene’s misrepresentations, non-disclosures, omissions, and fraudulent concealment of

11   material information relating to its PACE loans, including those regarding the likelihood of

12   prepayment and inability to transfer PACE loans, prepayment penalties, fees assessed by Ygrene

13   to avoid such prepayment penalties, and Ygrene’s unreasonable and undisclosed payoff statement

14   fees, administrative fees, and/or “Escrow/Custodial Fees” (collectively, “Administrative Fees”).

15          19.     PACE loans are a financing structure by which residential property owners are

16   permitted to opt into a special assessment district to receive financing for energy improvements

17   and retrofits on their homes. The loans are repaid through an annual assessment on the owner’s

18   property tax bill. A lien in the amount of the loan is placed on the home. Ygrene aggressively

19   markets PACE loans through various print, Internet, and radio materials, as well as a network of

20   3,200 home improvement contractors. It provides little and/or inaccurate training to these

21   individuals before they are set loose on unsuspecting consumers.

22          20.     The training materials Ygrene provides to its improvement contractors contain

23   misleading and incorrect statements about Ygrene’s PACE loans that are then passed on to

24   consumers. Such statements include, but are not limited to, the following:
                  Ways that Ygrene’s program is superior to other PACE
25                providers. HERO and CalFirst work under an Assessment
26                model […] This creates problems for some homeowners when they
                  sell or refinance their homes. Some buyers/lenders are asking that
27                the Assessment be paid off, rather than transferring to the new
                  owner…
28

                                                4
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                     Ygrene’s program does NOT use Assessment – Ygrene’s model
1                    uses Mello-Roos special taxes. […] Over $20B in Mello-Roos
 2                   special taxes have been placed on over 1.3M homes over the last 20
                     years without any problems. None have required payoff at time of
 3                   sale or refinance. […] Ygrene’s pre-payment rate is only 1.2% -
                     Evidence that Ygrene customers are having a positive experience.
 4
              21.    Once these contractors receive their Ygrene “certification,” the directive from
 5
     Ygrene is clear: “BOOST YOUR BOTTOM LINE.”1
 6
              22.    And this is precisely what this rag-tag group of de facto loan agents set out to do,
 7
     by routinely misrepresenting the true nature of the PACE loans they sell to consumers so they can
 8
     maximize their own profits.
 9
              23.    Through this sales force, its employees and agents, its marketing, and written
10
     disclosures, Ygrene deceives consumers into believing the PACE loan is a risk-free, no-strings-
11
     attached program, backed by government support that allows immediate energy efficiency
12
     improvements to a home in exchange for nothing more than increased property tax assessments.
13
     In reality, the loans are burdensome encumbrances on consumers’ homes.
14
              24.    As part of its sales efforts, Ygrene markets its PACE loans as the “smart
15
     alternative to traditional credit-based financing,”2 or in other words, as an alternative to a Home
16
     Equity Line of Credit (“HELOC”). According to Ygrene, its PACE loans are a “smart
17
     alternative” to traditional loan products because their loans are actually tax assessments that
18
     transfer with the property to the next owner of the home—meaning a property owner can leave
19
     the loan behind when he/she sells the home, or refinance the home without disturbing the PACE
20
     loan. Necessarily, then, these representations indicate to reasonable consumers that prepayment
21
     penalties are not charged at the time of sale or refinance—because the PACE loan remains
22
     undisturbed.
23
              25.    Ygrene is at pains to distinguish its PACE loans from credit vehicles assigned to a
24

25   1
      https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=2&ved=0ahUKEwjk8O
     vH1aPSAhXL8CYKHR0jDTkQFgg0MAE&url=https%3A%2F%2Fygreneworks.com%2Fwp-
26
     content%2Fuploads%2F40004-CA-8-15_prf51.pdf&usg=AFQjCNG6WiO-
27   ZMmBy88YrSihwC_TS3E9KQ; (last accessed on February 22, 2017).
     2
28       https://ygreneworks.com/homeowners/; (last accessed on February 15, 2017).

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1    specific borrower. In fact, in marketing materials, Ygrene goes so far as to say: “It’s as if your

 2   house is borrowing the money.” Again, in such a circumstance, no prepayment penalty would

 3   ensue.

 4            26.   Contrary to Ygrene’s misrepresentations, however, the PACE loans it markets to

 5   consumers do not travel with the home—in fact, they make it impossible or nearly impossible for

 6   consumers to sell their homes without first paying off the loan and incurring a large prepayment

 7   penalty. This is because conventional lenders refuse to provide loans on properties encumbered

 8   by Ygrene’s PACE loans, which benefit from superpriority status.

 9            27.   In other words, Ygrene’s PACE loans are not an encumbrance that run with the

10   property; they are an encumbrance that acts exactly like a HELOC.

11            28.   The misperception that PACE loans run with the property has been actively

12   fostered by Ygrene, and it is widespread. For example, a recent article in the Huffington Post

13   titled Will PACE Loans Cause the Next Housing Crisis?, incorrectly stated: “Because the loan is

14   attached to the property, the loan obligations (and any liens) are transferred to any future buyer.”3

15            29.   In fact, however, Ygrene’s PACE “loan obligations” are not transferred to future

16   buyers. Indeed, rules issued by the federal government make clear this may not occur. At all

17   times relevant, Ygrene was fully aware that the Federal Housing Finance Agency (“FHFA”), on

18   at least three occasions since 2010, “has made clear that…Fannie Mae and Freddie Mac should

19   neither purchase nor refinance mortgages with PACE loans attached.”4

20            30.   The FHFA’s directive to Fannie Mae and Freddie Mac is crucial because

21   conventional lenders and the housing market act in concert with the FHFA’s PACE financing

22   prohibitions since virtually all lenders rely on Fannie Mae and Freddie Mac to purchase the loans

23   that they make to borrowers. This means that individuals looking to purchase a home encumbered

24   by a PACE lien will effectively not be able to secure conventional financing for the purchase

25   unless the homeowners first pay off the PACE loan in its entirety—and pay a massive

26   3
      http://www.huffingtonpost.com/entry/will-pace-loans-cause-the-next-housing
27   crisis_us_589db386e4b0e172783a9ae9; (February 12, 2017).
     4
28    http://www.fhfa.gov/Media/PublicAffairs/Pages/Pollard-Statement-before-California-
     Legislature-Keeping-Up-with-PACE.aspx; (last accessed on January 30, 2017).
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1    prepayment penalty to Ygrene, as well as various unreasonable and undisclosed Administrative

 2   Fees.

 3           31.    Indeed, satisfaction of Ygrene’s PACE loans is certain at the time of sale or

 4   refinance because no conventional lender will agree to a loan on a property encumbered by a

 5   superpriority lien.

 6           32.    Ygrene not only misrepresents the certainty of a pay-off in both its representations

 7   and disclosures, but it also misrepresents the huge financial impact of being forced to pay off a

 8   PACE loan early.

 9           33.    Against this backdrop of deceptive marketing, Ygrene also issues deceptive,

10   misleading, and incomplete written disclosures. As discussed herein, those disclosures mislead

11   consumers regarding: (1) the necessity of paying off PACE loans at sale or refinancing; (2) the

12   necessity of paying large prepayment penalties at sale or refinancing; (3) the misrepresentation

13   of various Administrative Fees and payoff statement fees associated with sale or refinancing,

14   which are in actuality not fees for administration, but profits centers for Ygrene on certain

15   consumers; and (4) the assessment of “Pre-Payment Waiver Fees” not disclosed at initial stages

16   of the sign-up process.

17           34.    With respect to the “Pre-Payment Waiver Fee,” in recent years Ygrene has

18   surreptitiously added that fee to the closing costs of certain consumers. Yet it provides no

19   explanation in the body of loan documents what the “fee” is attributable to, or what it covers.

20   Upon information and belief, the fee is a belated, halfhearted attempt by Ygrene to acknowledge

21   what FHFA has made clear all along: full satisfaction of the loan is required at sale or refinance,

22   and a prepayment penalty will certainly be charged at that time. Rather than remove the

23   prepayment penalty, which its loan documents and marketing materials continue to represent as a

24   near-impossibility, Ygrene has added this new fee to allow homeowners to avoid paying a

25   prepayment penalty that Ygrene’s marketing representations and loan documents indicated would

26   never be charged in the first place. In other words, the fee allows Ygrene to profit further from its

27   own misrepresentations. Worse, and as occurred with Plaintiffs, Grachian L. Smith, Mary J.

28   Loudenslager-Smith, Ygrene foists the fee onto consumers only at the last minute, when previous

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1    iterations of loan cost documents did not include the fee.

 2            35.    Consumers like Plaintiffs would not have obtained PACE loans had they known

 3   the loans would require a prepayment penalty and full satisfaction of the loan at the time of sale

 4   or refinance. Moreover, reasonable consumers would not have knowingly agreed to enter into the

 5   loans with a Pre-Payment Waiver Fee, when marketing materials and sales practices indicated to

 6   them that a prepayment was impossible or unlikely to occur.

 7            36.    Since the filing of this lawsuit, Senators Tom Cotton (R-Arkansas), Marco Rubio

 8   (R-Florida), and John Boozman (R-Arkansas) have introduced the Protect Americans from Credit

 9   Exploitation Act (PACE Act). The Act “requires disclosure for Property Assessed Clean Energy

10   (PACE) loans that target low-income and elderly Americans with predatory home loans.”5

11            37.    As Senator Cotton observed:

12                   Residential PACE loans are a scam. Predatory green-energy lenders
                     are changing state and local laws to trick seniors into taking out
13                   high-interest rate loans for 20 years, along with liens on their homes,
                     for technology that could be obsolete in a few years. Today, these
14
                     loans are exempt from the same disclosure forms required for other
15                   home loans. Our bill will fix this. Requiring disclosure will reduce
                     the advantage that PACE loan sharks have over hard-working
16                   Americans. It’s just the accountability we need.
17            38.    This action is based upon a common nucleus of operative facts. All of Ygrene’s

18   unfair, deceptive and wrongful conduct in this case arise directly from the material omissions and

19   deceptive representations made directly by Ygrene and its agents to Plaintiffs and members of the

20   class, as well as documents prepared and provided by Ygrene to Plaintiffs and members of the

21   class.

22            39.    As a result of Ygrene’s intentional misconduct, Plaintiffs and members of the class

23   ask this Court to award injunctive relief, damages, including damages which flow naturally from

24   the requested injunctive relief, and attorney’s fees against Ygrene.

25                               GENERAL FACTUAL ALLEGATIONS

26                                               PACE Loans

27            40.    PACE loans are a financing structure by which residential property owners are

28
     5
         https://www.cotton.senate.gov/?p=press_release&id=653; (last accessed on May 10, 2017).
                                                8
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1    permitted to opt into a special assessment district to receive financing for energy improvements

 2   and retrofits on their homes. The loans are repaid through an annual assessment on the property

 3   owner's property tax bill.

 4          41.     PACE loans range in size from $5,000 to more than $100,000, with an average of

 5   approximately $25,000, and charge interest rates of 7% to 10% over a repayment period of five to

 6   25 years.

 7          42.     Municipal revenue bonds secured by liens on participating properties are the

 8   primary financing instrument for PACE programs. PACE bonds can be issued either through a

 9   private placement or public issuance. The proceeds from the bonds provide funding for home

10   improvement projects that meet program terms and conditions.

11          43.     PACE loans first originated in California in 2008 with great momentum, but

12   slowed in 2010 due to concerns raised by the FHFA, Fannie Mae, and Freddie Mac regarding the

13   seniority of the PACE lien over mortgages.

14          44.     In Florida, legal challenges to several PACE bond validation proceedings initially

15   slowed the implementation of PACE lending. However, in a recent opinion, the Florida Supreme

16   Court affirmed a circuit court’s final judgment validating a special assessment revenue bond to

17   fund PACE loans. See Florida Bankers Ass’n v. Florida Development Finance Corp., 176 So.3d

18   1258, 1260 (Fla. 2015).

19          45.     To date, almost $3.4 billion worth of PACE loans have been issued around the

20   country.

21          46.     PACE loans are marketed with deceptive, incomplete information, and are often

22   pitched by construction and remodeling companies with no expertise in consumer finance issues

23   and who Ygrene provides the same deceptive and incomplete information to pass along to the

24   consumer.

25          47.     In a recent article titled America’s Fastest-Growing Loan Category has Eerie

26   Echoes of Subprime Crisis, the Wall Street Journal described just a portion of the problem as

27   follows:
                    As the loans spread, so do problems that echo the subprime
28                  mortgage crisis. Plumbers and repairmen essentially function as
                                                 9
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                    loan brokers but have scant training and oversight. They often pitch
1                   PACE loans to help land contracting jobs and earn referral fees from
 2                  lenders….Creditworthiness matters little to lenders, because loans
                    are based on the value of a homeowner’s property. PACE loans
 3                  typically require no down payment, and the debt is added to
                    property-tax bills as an assessment.6
 4
             48.    Typically, private companies such as Ygrene serve as program administrators and
 5
     intermediaries between the special districts and borrowers. A company such as Ygrene will
 6
     market to homeowners, prepare loan applications and documents, conduct the “closing” on loans,
 7
     and facilitate the funding of individual homeowner projects.
 8
             49.    Companies like Ygrene market PACE loans to borrowers as a better alternative to
 9
     private loans such as home equity lines of credit. In reality, however, as Professor Prentiss Cox7
10
     notes, PACE loans are nothing more than mortgage loans with a different name:
11
                    PACE financing has all the characteristics of a mortgage loan other
12                  than the mechanism of billing and payment through property tax.
13                  Unlike a public works tax assessment, PACE financing is
                    voluntarily assumed by the homeowner and provides cash to the
14                  homeowner for improvements that ultimately will be owned by the
                    homeowner. From the lender’s perspective, PACE financing
15                  constitutes another lien on the property for purposes of evaluating
                    the value of the home as security in case of default by the
16                  homeowner on the mortgage loan.8
17
                           The FHFA’s Rules Regarding PACE Loans
18
             50.    The FHFA is the federal regulator and conservator of the secondary mortgage
19
     market Government Sponsored Enterprises, Fannie Mae and Freddie Mac (GSEs).
20
             51.    GSEs purchase mortgages from loan originators and use them to issue mortgage
21
     backed securities. Combined, the GSEs hold more than $5 trillion worth of mortgages; over half
22
     of the Nation’s single-family mortgage debt.
23
             52.    Because of their market dominance, the GSEs’ lending policies carry significant
24
     weight and are closely followed by mortgage loan originators. This is because originators rely on
25
     6
       https://www.yahoo.com/news/america-fastest-growing-loan-category-063033906.html; (last
26
     accessed on January 30, 2017).
     7
27     Prentiss Cox is a professor at the University of Minnesota Law School.
     8
       Prentiss Cox, Keeping Pace?: The Case Against Property Assessed Clean Energy Financing
28   Programs, 83 Col. L. REV. 106 (2011).

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1    the GSEs to purchase the loans that the originators have made to borrowers.

 2           53.    Consequently, the “housing market has acted in concert with the Federal Housing

 3   Finance Agency’s PACE financing prohibitions for Fannie Mae and Freddie Mac.”9

 4           54.    On July 6, 2010, FHFA issued its first statement and position on PACE loans. The

 5   FHFA expressed grave concerns about PACE loans, stating that such loans

 6                  … present significant safety and soundness concerns that must be
                    addressed by Fannie Mae, Freddie Mac and the Federal Home Loan
 7                  Banks… First liens established by PACE loans are unlike routine
                    tax assessments and pose unusual and difficult risk management
 8                  challenges for lenders, servicers and mortgage securities investors.
 9                  The size and duration of PACE loans exceed typical local tax
                    programs and do not have the traditional community benefits
10                  associated with taxing initiatives.

11                     *                              *                              *
12                  FHFA urged state and local governments to reconsider these
13                  programs and continues to call for a pause in such programs so
                    concerns can be addressed. First liens for such loans represent a key
14                  alteration of traditional mortgage lending practice. They present
                    significant risk to lenders and secondary market entities, may alter
15                  valuations for mortgage-backed securities and are not essential for
                    successful programs to spur energy conservation.10
16
             55.    On August 31, 2010, Freddie Mac and Fannie Mae each issued letters to lenders
17
     stating that the Enterprises would cease purchasing mortgage loans secured by a property with an
18
     outstanding PACE loan, originating on or after July 6, 2010, with first-lien priority. Additionally,
19
     the GSEs stated that in order to refinance a PACE-encumbered property, owners must pay off the
20
     entire outstanding PACE loan.
21
             56.    On February 28, 2011, the FHFA sent a letter to the GSEs’ general counsels
22
     invoking its statutory authority as conservator under 12 U.S.C. § 4617, as well as its duty to
23
     preserve and conserve the GSEs’ assets, and directed the GSEs to “continue to refrain from
24
     purchasing mortgage loans secured by properties with outstanding first-lien PACE obligations
25

26   9
       http://mba.informz.net/MBA/data/images/MBA Summary of FHA PACE Bulletin Final.pdf;
27   (last accessed on January 31, 2017).
     10
        http://www.fhfa.gov/Media/PublicAffairs/Pages/FHFA-Statement-on-Certain-Energy-Retrofit-
28   Loan-Programs.aspx; (last accessed on January 30, 2017).

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1    and carefully monitor through their seller-servicers any programs that create such first-lien

 2   obligations.”

 3            57.    On March 19, 2013, the Ninth Circuit Court of Appeals vacated a district court

 4   order and dismissed a lawsuit brought by several California counties and cities which sought to

 5   challenge the FHFA’s directive to the GSEs, holding that “FHFA’s decision to cease purchasing

 6   mortgages on PACE-encumbered properties is a lawful exercise of its statutory authority as

 7   conservator of the Enterprises.” County of Sonoma v. Federal Housing Finance Agency, 710 F.3d

 8   987, 988 (9th Cir. 2013).

 9            58.    On December 22, 2014, the FHFA issued a second statement regarding PACE

10   loans:
                     In issuing this statement, FHFA wants to make clear to homeowners,
11                   lenders, other financial institutions, state officials, and the public
12                   that Fannie Mae and Freddie Mac’s policies prohibit the purchase of
                     a mortgage where the property has a first-lien PACE loan attached
13                   to it. This restriction has two potential implications for
                     borrowers. First, a homeowner with a first-lien PACE loan cannot
14                   refinance their existing mortgage with a Fannie Mae or Freddie Mac
                     mortgage. Second, anyone wanting to buy a home that already has a
15
                     first-lien PACE loan cannot use a Fannie Mae or Freddie Mac loan
16                   for the purchase. These restrictions may reduce the marketability of
                     the house or require the homeowner to pay off the PACE loan before
17                   selling the house.11

18            59.    On June 9, 2016, Alfred M. Pollard, General Counsel for the FHFA, once again

19   reiterated the FHFA’s directive that “Fannie Mae and Freddie Mac should neither purchase nor

20   refinance mortgages with PACE loans attached.” Mr. Pollard further stated:

21                   [A] PACE lien often represents a retroactive creation of liability on
                     a property ahead of the existing first-lien mortgage, which the
22
                     mortgage holder neither knows about nor consents to. The creation
23                   of a super-lien thus transfers the risk of loss to the first-lien mortgage
                     holder after the lender has already underwritten and entered into a
24                   financing arrangement that facilitates the purchase or refinancing of
                     a home. The lender has no knowledge and no say in the subsequent
25                   additional risk and the potential decline in the value of their
26

27
     11
      http://www.fhfa.gov/Media/PublicAffairs/Pages/Statement-of-the-Federal-Housing-Finance-
28   Agency-on-Certain-Super-Priority-Liens.aspx; (last accessed on January 30, 2017).

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                    collateral by the layering of debt.12
1
              60.   Upon information and belief, at all times relevant, Ygrene had knowledge of the
 2
     above statements and the FHFA’s rules that directly impact Ygrene borrowers’ ability to sell their
 3
     homes.
 4
              61.   As a result of FHFA’s position regarding Ygrene’s PACE loans, Ygrene was on
 5
     notice that Ygrene’s consumers are certain to be forced to satisfy their PACE loans before being
 6
     able to sell their homes.
 7
                                         PACE Loans in California
 8
              62.   As a result of the FHFA’s position, PACE loan borrowers have been unable to sell
 9
     their homes without first satisfying their PACE loans.
10
              63.   In 2008, California passed the first legislation in the country permitting PACE
11
     lending. Since that time, over 70,000 homeowners have borrowed money through companies such
12
     as Ygrene.
13
              64.   After years of PACE lending in California, homeowners who are now attempting
14
     to sell their homes are experiencing first-hand the realities of PACE loans issued by companies
15
     such as Ygrene.
16
              65.   On October 19, 2015, a Reuters article titled Green Financing has Hobbled Home
17
     Sales in California reported that “a growing number of homeowners, lenders and realtors in
18
     California suggest the financing is making homes more difficult to sell and disrupting the
19
     mortgage market.”13 The article went on to discuss the realities faced by homeowners and how
20
     they were ultimately forced to prepay their PACE loans before they could sell their homes.
21
              66.   On November 6, 2015, The Wall Street Journal published an article titled Clean-
22
     Energy Loans Make for Messy Home Sales, which discussed the lack of disclosures and
23
     difficulties faced by PACE loan borrowers attempting to refinance or sell their homes.14
24

25   12
        http://www.fhfa.gov/Media/PublicAffairs/Pages/Pollard-Statement-before-California-
     Legislature-Keeping-Up-with-PACE.aspx; (last accessed on January 30, 2017).
26   13
        http://mobile.reuters.com/article/idUSKCN0SD0DP20151019; (last accessed on July 20,
27   2016).
     14
        http://www.wsj.com/articles/clean-energy-loans-make-for-messy-home-sales-1446853426;
28   (last accessed on July 20, 2016).

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1             67.   On April 25, 2016, U.S. Congressman Brad Sherman wrote a letter to the Director

 2   of the Consumer Financial Protection Bureau, requesting that the CFPB commence “a proper

 3   investigation and examination of potential consumer abuses associated with PACE loans.” In his

 4   letter, Congressman Sherman noted the various pitfalls consumers have experienced in California,

 5   including the fact that “the Federal Housing Finance Agency does not accept purchases of loans

 6   with priority lien status attached to it, limiting the consumer’s ability to receive refinancing or

 7   eventually sell the property unless the PACE loan is paid off in its entirety.” 15

 8            68.   On June 25, 2016, the Daily Democrat published a story by California Assembly

 9   Member Matt Dababneh titled Cost of Going Green Must not be Hidden From Homeowner,

10   which described the consequences of the unregulated PACE lending market in California:

11                  There is no requirement for basic disclosures, and homeowners are
                    often led to believe PACE is a subsidized government program that
12                  carries no risk if they need to sell or refinance their homes…The
                    prospect of going green, coupled with a misleading sales pitch, is
13                  leading homeowners, many of them seniors, to get scammed and
14                  become victims of predatory lending because they have no idea what
                    financial product they are really buying. Homeowners are also often
15                  unaware that a PACE loan adds a lien to their property, which means
                    they might not be able to sell or refinance their homes if the PACE
16                  loans aren’t paid off.16
17            69.   Most recently, on July 19, 2016, Pete Mills, Senior Vice President of Residential

18   Policy and Member Engagement for the Mortgage Bankers Association, issued the following

19   statement regarding the MBA’s position on PACE loans:

20

21

22

23

24

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     15
        http://www.cuna.org/Legislative-And-Regulatory-Advocacy/Removing-Barriers-
26
     Blog/Removing-Barriers-Blog/Rep--Sherman-Requests-CFPB-Review-of-Property-Tax-
27   Assessed-Clean-Energy-(PACE)-programs/; (last accessed on July 20, 2016).
     16
        http://www.dailydemocrat.com/article/NI/20160625/LOCAL1/160629921; (last accessed on
28   July 20, 2016).

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                    MBA and its members believe that energy efficient home
1                   improvements provide homeowners with a wide variety of benefits,
 2                  and want to help homeowners safely and sustainably finance these
                    kinds of improvements. However, we are concerned that this
 3                  program, as designed, would leave low and moderate income FHA
                    borrowers more vulnerable to being misled and steered into
 4                  financial obligations that they may not fully understand due to lack
                    of disclosure.17
 5

 6            70.   The consequences that borrowers in California have faced in being unable to sell

 7   their homes were, at all times relevant, known to Ygrene. Notwithstanding the damages Ygrene

 8   has caused to thousands of consumers in California, Ygrene continues to engage in these

 9   deceptive practices.

10                                       PACE Loans in Florida

11            71.   On April 30, 2010, the Florida Legislature passed Florida Statute section 163.08

12   (the “Act”) which (1) authorizes local governments to levy non-ad valorem assessments to fund

13   qualifying energy conservation and efficiency, renewable energy and wind resistance

14   improvements to real property; (2) authorizes property owners to apply for funding and

15   voluntarily enter into financing agreements with local governments to finance a qualifying

16   improvement; and (3) authorizes local governments to collect moneys, with specific collection

17   requirements, for such purposes through non-ad valorem assessments.

18            72.   Under the Act, local governments are permitted to incur debt and partner with

19   other local governments to provide financing to property owners for qualifying improvements.

20            73.   In order to qualify for a PACE loan in Florida, a property owner must be current

21   on his or her property taxes, as well as his or her mortgage payments, cannot have involuntary

22   liens on the property, and cannot have recorded property-based debt delinquency. § 163.08(9),

23   Fla. Stat.

24            74.   PACE loans give no consideration to the existing loan-to-ratio value. §

25   168.08(12)(a), Fla. Stat. A property owner may borrow up to 20% of the just valuation of his or

26   her property without any statutory regard for whether the property owner has equivalent equity in

27
     17
28     https://www.mba.org/2016-press-releases/july/mba-statement-on-pace-program; (last accessed
     on July 20, 2016).
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1    the property. § 163.08(12)(a), Fla. Stat.

 2           75.    Furthermore, the purchase money mortgagee cannot protect against diminution in

 3   its collateral value by accelerating its loan because the Act prohibits such acceleration if the

 4   acceleration is done solely as a result of the property owner obtaining a PACE loan. § 163.08(13),

 5   Fla. Stat.

 6           76.    There is no Florida PACE administrator because there is no state program. All of

 7   the PACE programs within Florida are formed “by local governments to operate for local

 8   governments” and operate pursuant to F.S. §163.01 interlocal agreements, with the exception of

 9   St. Lucie and Leon counties, which operate within their own counties.

10           77.    All PACE programs in Florida are operated by a third-party administrator such as

11   Ygrene. There are presently five (5) PACE programs operating in Florida. Ygrene serves as the

12   administrator for two (2) of the programs and has facilitated funding for 90% of all PACE

13   projects in Florida.

14           78.    The largest program administered by Ygrene is The Green Corridor District,

15   which consists of 20 local governments in Miami-Dade and Broward Counties. The Green

16   Corridor District includes both residential and commercial properties. The Green Corridor

17   District has authorized $500,000,000.00 of revenue bonds to fund the program. Since its

18   inception, the program has financed approximately $129 million in qualifying improvements.

19   The majority of these improvements have been to residential property with an average residential

20   project size of $22,000.00.

21                                        Ygrene’s Business Model

22           79.    Ygrene is the nation’s leading, multi-state provider of residential and commercial

23   property assessed clean energy financing. Nationwide, Ygrene has approved more than $1 billion

24   in applications and has completed over $394 million in contracts.

25           80.    Ygrene’s PACE loans are no different than private loans except that the terms are

26   less favorable when compared to conventional loans, and instead of a monthly billing statement,

27   borrowers receive an annual tax assessment.

28           81.    Ygrene acts as a lender by using private capital to provide financing to property

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1    owners in the PACE districts it administers. Ygrene’s capital sources and structure include a $100

 2   million revolving line of credit for the initial funding of PACE loans.

 3          82.     Funding for a specific project is accomplished by the special PACE district’s (e.g.

 4   The Green Corridor) issuing revenue bonds secured by special tax liens. The revenue bond is

 5   used as the financial instrument to allow the flow of private capital from Ygrene to home

 6   improvement projects. As part of the agreement between the district and Ygrene, the district sells

 7   and assigns all of its rights to receive the special tax revenues to Ygrene.

 8          83.     More specifically, the district issues a revenue bond to fund the PACE program.

 9   The bond is privately placed with Ygrene and issued as a single drawdown bond. Ygrene funds

10   the purchase price of the bond by making advances. Each advance is considered a “sub-series

11   bond” of the drawdown bond.

12          84.     The drawdown bond is in the form of a revolving line of credit, allowing for the

13   repayments of amounts drawn and the re-borrowing of such repaid amounts. Each advance is

14   secured by a Financing Agreement and a senior priority assessment lien on the property.

15          85.     Each individual property owner within the district desiring to finance an energy

16   improvement enters into a Financing Agreement with the district under which the property owner

17   agrees to the district’s imposition of a non-ad valorem assessment on the property.

18          86.     Each sub-series bond is secured solely by its own collateral, consisting of the

19   Financing Agreement (evidencing the assessment lien) and a revenue account.

20          87.     When it holds a sufficient amount of sub-series bonds, Ygrene securitizes the

21   bonds and sells them to private investors. In other words, the loans made to property owners are

22   bundled and sold to investors with a transfer of rights to the PACE loan revenue stream as a

23   security.

24          88.     On July 23, 2015, Ygrene announced the completion of a $150 million private

25   securitization transaction. The transaction combined both residential and commercial asset

26   revenue streams, combined projects in all of the states where Ygrene operates, and included both

27   special taxes and assessments in a single securitization.

28          89.     On November 15, 2016, Ygrene announced the completion of another bond in the

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1    amount of $184 million.

 2             90.    Most recently, on April 24, 2017, Ygrene announced the completion of another

 3   bond in the amount of $176 million.

 4             91.    In order to maximize profits for itself and its investors, Ygrene offers loan terms

 5   that are much less favorable than conventional loan products overall.

 6             92.    Ygrene offers its borrowers repayment terms of 5, 10, or 20 years. In the event of

 7   prepayment, Ygrene charges borrowers a fee of 3% to 5% of the remaining balance of the loan.

 8             93.    The prepayment penalty that Ygrene charges consumers is for its own benefit and

 9   to make its bonds more attractive to investors, who prefer loans with pre-payment penalties

10   because these penalties reduce the speed at which loans are repaid, allowing the investors to earn

11   the full potential of their investment.

12             94.    On average, Ygrene charges $4,000.0018 in various fees, including an application

13   fee; processing and underwriting fee; miscellaneous county costs; record and disbursement fees;

14   escrow and title insurance; a closing fee; capitalized interest, and, in some instances, a pre-

15   payment waiver fee.

16             95.    Ygrene also charges borrowers excessive interest rates of 7% to 12%, which is

17   considerably higher than a standard equity line of credit, which have averaged between 4% and

18   5% over the past five (5) years. As recently observed by the Director of the FHFA during a

19   Congressional oversight hearing on PACE loans: “There is no rational reason, if you think about

20   it, why a superior tax lien would be having an interest rate of 10, 11, or 12 percent when a lien

21   subordinate to it is going at 4 percent or 5 percent.”

22             96.    With the exception of the application fee, all fees are included in the loan and are

23   subtracted from the disbursement amount at the time of closing.

24             97.    In addition to supplying private capital, Ygrene is also responsible for managing

25   the PACE program district, establishing a budget, and funding program operations.

26             98.    As part of its services, Ygrene provides program design, marketing, administrative

27   duties, origination, application processing, and ongoing reporting services.

28
     18
          Based on a $35,000.00 principal loan at 20 years.
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1           99.     Marketing the program includes multiple modes of advertisement, including web-

 2   based, mail campaigns, television, radio and print ads, and outreach to the building and

 3   installation community, including training materials. Additionally, educational seminars are

 4   conducted for County residents.

 5          100.    Most importantly, Ygrene is solely responsible for developing loan documents and

 6   disclosures that are provided to consumers.

 7                 Ygrene’s Deceptive Business Practices Have Damaged Consumers

 8          101.    Ygrene uses a network of over 3,200 home contractors to drum up business.

 9          102.    These contractors act as de facto mortgage brokers and are often the primary point

10   of contact between Ygrene and its borrowers.

11          103.    Ygrene provides little and inaccurate training to these contractors, whose primary

12   incentive it is to sign up additional homeowners, collect Ygrene’s referral fee for doing so, and

13   ultimately charge unusually high costs for the energy-efficiency improvement work. The result is

14   unregulated lending with unqualified and self-interested contractors acting as mortgage brokers.

15          104.    These de facto loan agents routinely and systematically misrepresent the

16   characteristics of Ygrene PACE loans, often under Ygrene’s instruction and based on Ygrene’s

17   misinformation.

18          105.    Through its deceptive marketing, Ygrene leads consumers to believe that its PACE

19   loans are a government subsidized program that carries no risk if they need to sell their homes or

20   refinance a mortgage.

21          106.    Numerous consumers have complained about these sales practices. For example,

22   California consumers who were deceived by Ygrene have taken to the Internet to voice their

23   complaints:
                    -   I just found out that i cannot refinance my house because i have
24                      one ygrene loan on my property tax.
25
                    -   They lied about passing the unpaid balance onto the new owners
26                      as no lender will approve a loan with a lien of this type on it. The
                        lien would be in first position over a bank lien. They never
27                      disclosed the prepayment penalty fee, escrow fees, payoff figure
                        fee or statement fee.
28

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               -   They will tell you things like, "the loan will stay with the home
1                  because it goes under the property taxes. And if you sell the
 2                 home, the lien just goes to the new homeowner cause it doesn't
                   need to be disclosed." Wrong, they will find out about the lien
 3                 once a title company pulls the records on it. That's a great selling
                   point to get a lot of people. This is how we were pitched. Also,
 4                 we found out through our current loan process you will not be
                   able to refinance your mortgage if you are getting a FreddieMac
 5
                   or FannieMae (they probably back at least 50% of the nations
 6                 loans) backed loan without paying off the Ygrene/Pace "Special
                   Tax Lien" first. It States, "Thus, in order to refinance your home
 7                 loan, or for a prospective purchaser of your property to obtain a
                   loan secured by the property, you MAY need to remove the
 8                 special tax lien by prepaying the special-tax obligation in full."
                   Why even say MAY because it absolutely has to be paid in full.
 9
                   I've talked with a lot of brokers and they have assured me of this.
10                 But they won't tell you this upfront. ABSOLUTELY, NONE OF
                   THIS WAS DISCLOSED UPFRONT.
11

12             -   Stay away from this financing! They told us we could refinance
                   our home, but failed to tell us that no mortgage company would
13                 touch us after our lien was in place. You have to pay off the lien
                   before you can refinance. Their sales people have no clue what
14
                   position they put the homeowners in and don't care. This
15                 program puts the government in first position on your property
                   and you have no recourse. This is predatory lending at its best,
16                 backed by the government. Don't do this, otherwise you are
                   locked into your property with thousands due the city or county
17                 every year. Unless you like losing your equity for 20 years and
18                 no possible way of refinance for the same duration, then this
                   program is for you. Don't make the same mistake we did. Hold
19                 out for a conventional loan; at least you will get better payment
                   options and can sell your house easily that way with no
20                 government intervention. Good luck.
21
               -    They lied about passing the unpaid balance onto the new owners
22                 as no lender will approve a loan with a lien of this type on it. The
23                 lien would be in first position over a bank lien. They never
                   disclosed the prepayment penalty fee, escrow fees, payoff figure
24                 fee or statement fee.
               -   They also put a lien against your title. Cannot sell the house
25                 without paying them off. Their website has wrong information
                   on it - They say the loan doesn't stay with the house - it has to be
26                 paid off when you refi or sell. So much for the loan stays with
27                 house BS. Stay away from this organization.

28             -   Do not use this financing option, or, only use it if you know you
                   will not want to move or refinance within the time period of your
                                         20
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                         loan. Ygrene LIENS your property (or rather their financial
1                        partner Willdan will do it) and if you want to sell or refinance,
 2                       chances are your title company will want the liens cleared up
                         before you do anything! So... savings? Not so much. If you try
 3                       to tell the Ygrene folks that liens are not the same as Mello Roos,
                         they argue with you. For me, it basically came down to their rep
 4                       telling me that it was my title companies fault for not accepting
                         the liens on the property. I am so sorry that I went this route and
 5
                         I will tell everyone I know NOT to work with this company. Oh
 6                       yeah, forgot to mention that everytime you sign a contract, they
                         place a lien on the property for the ENTIRE amount your
 7                       property qualified for, not just the taxes on the amount you
                         used. They placed 3 liens my house for over $15,000, for 2
 8                       projects worth $25,000. A small part of me wonders if this isn't
                         part of their plan all along!
 9

10
                     -   The roofing company that did the work on our house was good,
11                       however Ygrene puts a lien on your home. We are refinancing
                         our house and the lien is a real problem - it needs to be paid off
12                       in full (fine, we will use some home equity for that). 19
13
                     -   It was too good to be true. We did decide to sell nearly a year
14                       later. That was not supposed to be a problem. Our rep had
                         assured us that this was transferable. Because the loan was tied
15
                         to the tax payments, the new owners would be able to assume
16                       that obligation. We were assured it was transferable. From a
                         theoretical standpoint, I'm sure it is. You simply have to get the
17                       buyers and the buyer's lender to agree to finance the house with
                         a lien attached. Here is a problem; no lender will finance a home
18                       that has a lien attached. None. Zilch. Zip. Nada. Lenders will not
19                       fund a mortgage for a property that has a lien on it. If you think
                         you might sell or refinance the house before the lien is paid for,
20                       and you have a Ygrene lien, be prepared to pay off the lien as a
                         part of the sales price. Also enjoy the fact that the interest is fully
21                       put into the cost of the project and you will pay off the principal
                         and FULL interest for the entire length of the contract. Fun… 20
22

23            107.   These unlicensed contractors use marketing materials and talking points prepared

24   in a uniform fashion by Ygrene. Ygrene fails to adequately supervise its broad network of

25   contractor-loan officers.

26            108.   Ygrene markets the lack of consumer disclosures as part of its sales pitch to

27
     19
       http://www.yelp.com/biz/ygrene-energy-fund-santa-rosa; (last accessed on January 31, 2017).
     20
28     https://www.yelp.com/biz/ygrene-energy-fund-sacramento; (last accessed on January 31,
     2017).
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1    contractors interested in becoming a Ygrene “certified” contractor:

 2            15 Minute Approvals           Whether you’re applying online or sitting onsite
                                            with property owner, we can provide underwriting
 3                                          decision and finance documents in 15 minutes or
                                            less.21
 4

 5            109.   The misrepresentations by the de facto loan agents are furthered by deceptive

 6   marketing materials designed and distributed by Ygrene, and by verbal misrepresentations that

 7   Ygrene employees make to interested consumers.

 8            110.   In marketing its loans to consumers, Ygrene emphasizes its “partnership” with

 9   local governments, and states that “thanks to a partnership with your local government,” it is able

10   to bring consumers 100% financing for energy improvement projects.

11            111.   In a promotional video, Ygrene made the following false statements to Plaintiffs

12   and members of the class:

13                      “If you sell your property, the payments transfer to the new owners just like

14                       your property tax. So you only pay for what you use.”

15                      “It’s as if your house is borrowing the money, not you personally. As a result,

16                       we don’t need to look at your credit score, verify your employment, or review

17                       your financial statements.”22

18            112.   Up until the filing of this lawsuit, Ygrene also made the following

19   misrepresentations on its website:

20                   The project debt does not have to be paid off upon property sale or
                     transfer.23
21
     21
22      www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=2&ved=0ahUKEwjk8OvH1a
     PSAhXL8CYKHR0jDTkQFgg0MAE&url=https%3A%2F%2Fygreneworks.com%2Fwp-
23   content%2Fuploads%2F40004-CA-8-15_prf51.pdf&usg=AFQjCNG6WiO-
     ZMmBy88YrSihwC_TS3E9KQ; (last accessed on February 22, 2017).
24   22
        Defendants have since removed this video from their website. The video viewed by Plaintiffs,
     as alleged below, is available at https://www.youtube.com/watch?v=vlzVpTCZB5g; (last
25   accessed on August 21, 2017). Defendants have replaced the video viewed by Plaintiffs with
26   one that states: “If you sell your property, in some cases, payments may transfer to the new
     owner.” See https://ygreneworks.com/; (last accessed on August 21, 2017).
27
     23
      https://web.archive.org/web/20151024215502/http://ygreneworks.com/faqs; (last accessed on
28   August 21, 2017).
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                     Payments stay with the property
1                    If you sell your home, the payments on Ygrene financing can
 2                   transfer to the new owner – so you only pay for improvements
                     while you use them.24
 3
              113.   Not surprisingly, and as occurred with Plaintiffs, Ygrene’s own employees make
 4
     similar misrepresentations when speaking with consumers on the telephone or in person, prior to
 5
     and during the loan origination process.
 6
              114.   Upon information and belief, and at all times relevant, Ygrene had corporate
 7
     policies and procedures pursuant to which it instructed its employees, agents, and certified
 8
     contractors to misrepresent to consumers the true nature of its PACE loans. Pursuant to these
 9
     policies and procedures, Ygrene instructed its employees, agents, and certified contractors to
10
     represent to consumers that its PACE loans are always transferable at the time of sale or
11
     refinance.
12
              115.   Under these policies and procedures, Ygrene employees, agents, and certified
13
     contractors routinely responded to consumer inquiries about the impact on the sale or refinance
14
     of a property encumbered by a Ygrene lien by stating that the lien would have no impact
15
     whatsoever, and would transfer with the property to the new owner.
16
              116.   In short, Ygrene engaged and continues to engage in a series of calculated
17
     misrepresentations and omissions, the sole purpose of which is to deceive and conceal from
18
     consumers the true implications and consequences of its PACE loans, particularly with respect to
19
     the sale or refinancing of properties encumbered by PACE loans.
20
              117.   Only at the very end of the deception-riddled sales process are consumers
21
     presented with written disclosures and Financing Agreements. These disclosures, like Ygrene’s
22
     marketing, are also deceptive and omit key information, as discussed infra.
23
                                 Ygrene’s Deceptive Written Disclosures
24
              118.   Ygrene’s Unanimous Approval Agreement (“UAA”), used for transactions in
25
     California, contains the following language, which further misrepresents the nature of PACE
26

27
     24
       https://web.archive.org/web/20160315093237/https://ygreneworks.com/homeowners; (last
28   accessed on August 23, 2017).

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1    loans by saying only that: (1) “certain” lenders desire to comply with FHFA guidance (when

 2   virtually all do); (2) the FHFA “appears to have instructed” lenders not to purchase loans with

 3   attached PACE loans (when both the FHFA and other agencies repeatedly stated this fact with

 4   certainty); and (3) that in vague “superior lien for qualifying improvements” situations “you may”

 5   need to “remove the special-tax lien by prepaying”:

 6                   Many banks that make home loans desire to preserve the option to
                     sell those loans to U.S. government-sponsored enterprises (called
 7                   “GSEs”) that are regulated by the Federal Housing Finance Agency
                     (“FHFA”). The FHFA appears to have instructed its GSEs not to
 8                   purchase residential loans where there is a superior lien for
 9                   qualifying improvements, such as the special-tax lien. Thus, in order
                     to refinance your residential loan, or for a prospective purchaser of
10                   your property to obtain a loan secured by the property, you may need
                     to remove the special-tax lien by prepaying the assessment
11                   obligation in full. You thus should consider the likelihood and
                     timing of a possible refinancing or sale of your property, and the
12                   costs to prepay the special-tax obligation, in deciding whether to
13                   annex your property to the district.
     (emphasis added).
14

15            119.   Ygrene’s confusing disclosure does not plainly state that “I understand that I may

16   be required to pay off the remaining balance of this obligation by the mortgage lender refinancing

17   my home.” See AB 2693 § 6. Instead, Ygrene obfuscated the “disclosure” by including

18   misleading language about what FHFA “appears to have instructed” and complicated statements

19   about the removal of “special-tax liens by prepaying.” Nor did Ygrene’s “disclosure” state in

20   simple terms that “I understand that … If I sell my home, the buyer of their mortgage lender may

21   require me to pay off the balance of this obligation as a condition of sale.” See AB 2693 § 6.

22   Indeed, nowhere did Ygrene use the phrases “pay off” or “condition of sale.” Thus, Ygrene’s

23   “disclosure” does not comport with California’s Streets and Highways Code § 5898.17.25

24

25   25
       California’s Streets and Highways Code requires the following non-deceptive disclosure before
     a property owner consummates a voluntary contractual assessment like a PACE loan: “I
26
     understand that I may be required to pay off the remaining balance of this obligation by the
27   mortgage lender refinancing my home. If I sell my home, the buyer or the mortgage lender may
     require me to pay off the balance of this obligation as a condition of sale.” See Cal. Streets and
28   Highways Code § 5898.17. Unlike phrases like “prepaying the assessment,” “special-tax lien(s)”
     “superior liens” and “qualifying improvements,” plain language like “pay off,” “require,” and
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1           120.    In sum, Ygrene’s fine print disclosure is at pains to downplay the possibility that

 2   the PACE loan could create an obstacle to sale or refinance, and is especially misleading in light

 3   of the verbal representations made by Ygrene employees and Ygrene agents that the loan travels

 4   with the house. It was deceptive to state that the “FHFA appears to have instructed” that

 5   “prepaying” or a “special tax lien” may need to be “remov(ed)” instead of explaining that

 6   borrowers could be “required” to “pay off” the entire balance of the loan obligation to refinance

 7   or as a “condition of sale.” In reality, FHFA’s directive is unequivocal and it was virtually certain

 8   the loan would need to be paid off at the time of sale or refinance.

 9          121.    Further, the disclosure omits any reference to a prepayment penalty. Rather, it

10   indicates that even if an involuntary prepayment is required, consumers will only have to

11   “prepay[] the assessment obligation in full”—but does not disclose that a prepayment penalty and

12   additional, unreasonable Administrative Fees will also be assessed.

13          122.    Only in a separate section of the UAA, discussing voluntary repayment of the

14   “special tax obligation,” does Ygrene mention the possibility of a prepayment penalty and

15   additional fees—and even then it states only that such a premium “may” be assessed:

16                  The owner may prepay the Special Tax obligation at any time by
                    paying the then outstanding principal balance as shown on the
17                  amortization schedule provide with the Final Closing Statement,
                    plus reasonable administrative costs and the current year’s
18                  installment of the Special Tax that appears on the property tax bill.
19                  The prepayment may also include a prepayment premium based
                    upon a percentage of the remaining principal as defined in Exhibit
20                  B hereto. The Special Tax obligation may only be repaid in full.

21          123.    The two separate disclosures reproduced above indicate to reasonable consumers

22   that, at most, a prepayment penalty may apply when a homeowner voluntarily chooses to prepay

23   the loan—but not where he is forced to do so as a “condition of sale” or as a “require[ment]” of

24   refinancing.

25          124.    In short, Ygrene’s UAA never states that a) a homeowner could be required to

26   “pay off” the loan “as a condition of sale” or as a “require[ment]” for refinancing; and b) during a

27

28   “condition of sale” clearly communicate to consumers that they could have to pay the obligation
     in full to sell or refinance.
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1    sale or refinance the homeowner will also have to pay a prepayment penalty and additional,

 2   unreasonable Administrative Fees. Indeed, Ygrene’s discussion of lien satisfaction and the

 3   prepayment penalty never appear together in the UAA. That is by design; Ygrene isolates these

 4   terms in order to conceal the central fact of these loans: homeowners will almost certainly have to

 5   pay a penalty and additional, unreasonable Administrative Fees.

 6          125.    Ygrene’s Agreement to Pay Assessments and Finance Qualifying Improvements

 7   (“Financing Agreement”), used in Florida, contains the following language, which, like the UAA,

 8   misrepresents the nature of PACE loans by saying only that: (1) “certain” lenders desire to

 9   comply with FHFA guidance (when virtually all do); (2) the FHFA “appears to have instructed”

10   lenders not to purchase loans with attached PACE loans (when both the FHFA and other agencies

11   repeatedly stated this fact with certainty); and (3) that “you may” need to “prepay the assessment

12   obligation” if a homeowner wanted to sell or refinance (when a homeowner is actually at serious

13   risk of having to “pay off” the loan obligation as a “require[ment]” of refinancing or as a

14   “condition of sale”):

15                  Many lenders that make residential loans desire to preserve the
                    option to sell those loans to U.S. government-sponsored enterprises
16                  (called “GSEs”) that are regulated by the Federal Housing Finance
                    Agency (“FHFA”). The FHFA appears to have instructed its GSEs
17                  not to purchase residential loans where there is a superior lien for
18                  qualifying improvements, such as the assessment lien. Thus, in order
                    to refinance your residential loan, or for a prospective purchaser of
19                  your property to obtain a loan secured by the property, you may need
                    to remove the assessment lien by prepaying the assessment
20                  obligation in full. You thus should consider the likelihood and
                    timing of a possible refinancing or sale of your property, and the
21                  costs to prepay the assessment obligation, in deciding whether to
22                  participate in the program by executing this agreement. A
                    prepayment premium may be applied on assessments that are paid
23                  early.

24          126.    As with the California disclosure, the Financing Agreement minimizes the
25   possibility that the PACE loan could create an obstacle to any sale, and is especially misleading in
26   light of the verbal representations made by Ygrene employees and Ygrene agents that the loan is a
27   tax that travels with the home. It was deceptive to state that the “FHFA appears to have
28   instructed” and that an “assessment lien” may need to be “remove(d)” by “pre-payment” instead
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1    of plainly explaining that the consumer could have to “pay off” a PACE loan as a “require[ment]”

 2   to refinance or as a “condition of sale.” In other words, Ygrene’s complicated, winding disclosure

 3   conceals the risk that consumers will likely have to “pay off” the obligation to sell or refinance

 4   their home to deceive consumers into believing that the PACE loan will not create a barrier to

 5   refinance or sale. In reality, it is virtually certain the loan would need to be paid off at the time of

 6   sale or refinance.

 7            127.   Like the UAA, the Financing Agreement, states only that a prepayment premium

 8   “may” be assessed:
                   The Owner may prepay the Final Assessment obligation at any time
 9                 by paying the then outstanding principal balance as shown on the
10                 amortization schedule provided with the final closing statement,
                   plus reasonable administrative costs and the current year’s
11                 installment of the Assessment that appears on the property tax bill.
                   The prepayment may also include a prepayment premium based
12                 upon a percentage of the remaining principal as defined in Exhibit
                   C hereto. The Final Assessment obligation may only be prepaid in
13
                   full.
14            128.   Before making these disclosures, Ygrene was on notice that the Federal Housing
15   Finance Agency (“FHFA”), on at least three occasions since 2010, “has made clear that…Fannie
16   Mae and Freddie Mac should neither purchase nor refinance mortgages with PACE loans
17   attached.”26
18            129.   Ygrene did not fully disclose to Plaintiffs and Class Members that the FHFA had
19   unequivocally instructed GSEs not to purchase loans on PACE-lien encumbered properties.
20            130.   At all times material hereto, Ygrene knew that Plaintiffs’ and the Class Members’
21   PACE loans would almost certainly have to be satisfied before a sale of the corresponding
22   property or mortgage refinance could occur.
23            131.   In some cases, as part of executing the last-minute Financing Agreement, Ygrene
24   adds the Pre-Payment Waiver Fee, without explaining to consumers or providing any written
25   explanation of the fee.
26            132.   Had Plaintiffs and members of the Class known the truth about Ygrene’s PACE
27
     26
28     http://www.fhfa.gov/Media/PublicAffairs/Pages/Pollard-Statement-before-California-
     Legislature-Keeping-Up-with-PACE.aspx; (last accessed on July 20, 2016).
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1    loans and its Waiver Fee, as well as the additional administrative charges, they would not have

 2   entered into these agreements.

 3                             Ygrene’s Unreasonable Administrative Fees

 4          133.    Adding insult to injury, for consumers forced to pay off their PACE loan

 5   obligations as a result of a sale or refinance, Ygrene assesses additional, unreasonable

 6   Administrative Fees.

 7          134.    First, Ygrene requires that homeowners pay a $125 “payoff statement fee,” which

 8   is not disclosed in the UAA or Financing Agreement and which it is therefore not authorized, by

 9   contract or otherwise, to charge.

10          135.    Second, it requires that homeowners pay a $75 “Administrative Fee,” which is not

11   disclosed in the UAA or Financing Agreement, and which it is therefore not authorized, by

12   contract or otherwise, to charge.

13          136.    Third, it requires that homeowners pay a $55 “Escrow/Custodial Fee,” which is not

14   disclosed in the UAA or Financing Agreement, and which it is therefore not authorized, by

15   contract or otherwise, to charge.

16          137.    Worse, none of these charges is remotely associated with Ygrene’s actual costs to

17   produce a payoff statement or to “administer” the payoff—and are in addition to the already-

18   excessive prepayment penalty.

19          138.    Such charges are not adequately disclosed in the UAA or Financing Agreement as

20   an additional necessary consequence of selling or refinancing a home encumbered by a Ygrene

21   loan. When these fees are finally assessed on consumers, the fee names misrepresent the true

22   purpose and reason for the fees, which are not to cover Ygrene’s administrative costs, but are only

23   to pad its profits. As such, the Administrative Fees are not reasonable.

24          139.    The Administrative Fees are therefore a surprise to consumers when they are

25   assessed.
                                 Factual Allegations Specific to Plaintiffs
26
                               George W. Woolley and Tammy S. Woolley
27
            140.    Plaintiffs, George Woolley and Tammy Woolley, are a married couple who own
28
     their primary residence in Margate, Florida. Plaintiffs obtained a PACE loan through Ygrene on
                                              28
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1    or about January 2016.

 2            141.   On or about October 26, 2015, prior to signing the loan agreement, Plaintiff,

 3   Tammy S. Woolley, watched a promotional video located on Ygrene’s website at

 4   https://ygreneworks.com. In this promotional video, Ygrene made the following

 5   misrepresentations to Plaintiff:

 6                      “If you sell your property, the payments transfer to the new owners just like

 7                       your property tax. So you only pay for what you use.”

 8                      “It’s as if your house is borrowing the money, not you personally. As a result,

 9                       we don’t need to look at your credit score, verify your employment, or review

10                       your financial statements.”27

11            142.   Plaintiff relied on these statements and would not have entered into the loan if she

12   had known that these statements were false and misleading.

13            143.   Additionally, on or about October 2015, Plaintiff, Tammy S. Woolley, called

14   Ygrene at the number listed on Ygrene’s website. Plaintiff does not recall the name of the agent

15   with whom she spoke, but does recall the agent was a female. Plaintiff recalls that the Ygrene

16   employee told Plaintiff that the PACE loan was attached to her property, not directly to her, and

17   that it would be tied to their annual property taxes. The agent also told Plaintiff that if she

18   decided to sell the property at any point, the loan would be transferred to the new property owner.

19            144.   Plaintiff relied on these statements and would not have entered into the loan if she

20   had known that these statements were false and misleading.

21            145.   Additionally, Ygrene required that Plaintiffs sign a Financing Agreement, a

22   document created by Ygrene, bearing Ygrene’s name and logo, and containing the following

23   deceptive disclosure:

24                   The FHFA appears to have instructed its GSEs not to purchase
                     residential loans where there is a superior lien for qualifying
25                   improvements, such as the assessment lien. Thus, in order to
26   27
        Defendants have since removed this video from their website. The video viewed by Plaintiff
27   is available at https://www.youtube.com/watch?v=vlzVpTCZB5g; (last accessed on August 21,
     2017). Defendants have replaced the video viewed by Plaintiff with one that states: “If you sell
28   your property, in some cases, payments may transfer to the new owner.” See
     https://ygreneworks.com/; (last accessed on August 21, 2017).
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                     refinance your residential loan, or for a prospective purchaser of
1                    your property to obtain a loan secured by the property, you may need
 2                   to remove the assessment lien by prepaying the assessment
                     obligation in full….A prepayment premium may be applied on
 3                   assessments that are paid early.

 4           146.    The documents were sent to Plaintiffs electronically, and Ygrene did not guide
 5   Plaintiffs through the documents before they were executed by Plaintiffs.
 6           147.    At no point in time did Ygrene adequately disclose to Plaintiffs they would almost
 7   certainly have to “pay off” the PACE loan as a “require[ment]” to refinance or as a “condition of
 8   sale.” Nor did Ygrene adequately disclose that Plaintiffs would have to pay a prepayment penalty
 9   and additional administrative fees. To the contrary, Ygrene’s promotional video and
10   representative assured Plaintiffs that the lien would not have to be satisfied in the event of a sale
11   or refinance.
12           148.    On or about February 2016, a Ygrene-certified contractor installed a new roof on
13   Plaintiffs’ home.
14           149.    Subsequently, Plaintiffs attempted to refinance their home, but no lender would
15   agree to refinance unless Plaintiffs satisfied the Ygrene lien.
16           150.    On or about September 2016, after months of attempting to refinance their home,
17   Plaintiffs were forced to satisfy the Ygrene lien at the closing of their loan refinance, including
18   payment of a Redemption Premium (5.00% prepayment penalty), a payoff statement fee, an
19   Administrative Fee, and an Escrow/Custodial Fee.
20           151.    Based on Ygrene’s misrepresentations and omissions, Plaintiffs understood that
21   the Ygrene loan would not need to be satisfied as a requirement to refinance or as a condition of
22   sale.
23           152.    In obtaining a PACE loan through Ygrene, Plaintiffs relied upon Ygrene’s
24   omissions and deceptive representations to their detriment.
25           153.    Had Plaintiffs known the truth about Ygrene’s loan, Plaintiffs would not have
26   entered into an agreement through Ygrene, and would not have agreed to the prepayment penalty.
27   Plaintiffs did not agree, and would not have agreed, to pay any of the associated administrative
28   fees at the time they took the loan.
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1                                             Michael G. Pekel

 2            154.   On or about September 2016, Plaintiff, Michael G. Pekel, purchased a single-

 3   family home in Miami-Dade County as an investment property.

 4            155.   The home needed a new roof, so Plaintiff contacted a roofing contractor.

 5            156.   Subsequently, on or about early September 2016, Plaintiff met in person, at his

 6   home, with a male representative from Joe Ward Roofing and Energy Solutions, Inc. (“Ward

 7   Roofing”), a Ygrene “certified contractor.”

 8            157.   The gentleman from Ward Roofing advised Plaintiff of the Ygrene program. The

 9   representative explained the program and that there were no upfront costs. He further stated that

10   the Ygrene lien would be paid with the property’s taxes. Plaintiff expressly noted to the

11   representative that he would probably be selling the property in the near future. In response, the

12   representative told Plaintiff not to worry because the Ygrene lien “goes with the property.”

13            158.   Plaintiff relied on these statements and would not have proceeded to pursue the

14   loan if he had known that these statements were false and misleading.

15            159.   A few days later, Plaintiff visited Ygrene’s website (https://ygreneworks.com) to

16   learn about the program and watched Ygrene’s promotional video. In this promotional video,

17   Ygrene made the following misrepresentations to Plaintiff:

18                      “If you sell your property, the payments transfer to the new owners just like

19                       your property tax. So you only pay for what you use.”

20                      “It’s as if your house is borrowing the money, not you personally. As a result,

21                       we don’t need to look at your credit score, verify your employment, or review

22                       your financial statements.”28

23            160.   Subsequently, on or about early October 2016 (shortly prior to entering into the

24   PACE loan), Plaintiff called Ygrene at the telephone number listed on Ygrene’s website. Plaintiff

25   spoke with a female employee of Ygrene, though he does not recall her name. The employee

26   28
        Defendants have since removed this video from their website. The video viewed by Plaintiff
27   is available at https://www.youtube.com/watch?v=vlzVpTCZB5g; (last accessed on August 21, 2017).
     Defendants have replaced the video viewed by Plaintiff with one that states: “If you sell your
28   property, in some cases, payments may transfer to the new owner.” See
     https://ygreneworks.com/; (last accessed on August 21, 2017).
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1    explained that there would be no upfront costs, no credit or income verification, and that the

 2   approval would all be based on the value of the property. The employee also stated to Plaintiff

 3   that the “property is borrowing the money.” The employee further stated – in response to

 4   Plaintiff’s inquiry about what would happen if he wanted to sell the property – that the Ygrene

 5   Loan “carries with the property.”

 6          161.    Additionally, Ygrene required that Plaintiff sign a Financing Agreement, a

 7   document that was created by Ygrene, bearing Ygrene’s name and logo, and containing the

 8   following deceptive disclosure:

 9                  The FHFA appears to have instructed its GSEs not to purchase
                    residential loans where there is a superior lien for qualifying
10                  improvements, such as the assessment lien. Thus, in order to
                    refinance your residential loan, or for a prospective purchaser of
11                  your property to obtain a loan secured by the property, you may need
12                  to remove the assessment lien by prepaying the assessment
                    obligation in full….A prepayment premium may be applied on
13                  assessments that are paid early.

14          162.    The documents were sent to Plaintiff electronically, Ygrene did not guide Plaintiff
15   through the documents before they were executed by Plaintiff.
16          163.    At no point in time did Ygrene adequately disclose to Plaintiff that he would
17   almost certainly have to “pay off” the PACE loan as a “require[ment]” to refinance or as a
18   “condition of sale.” To the contrary, Ygrene’s certified contractor, promotional video, and
19   representative assured Plaintiff that the lien would not have to be satisfied at the time of sale or
20   refinance.
21          164.    On or about January 2017, a Ygrene-certified contractor installed a new roof on
22   Plaintiff’s property.
23          165.    Subsequently, Plaintiff attempted to sell the home, but was unable to do so because
24   no buyer could obtain financing with the Ygrene lien attached to the property.
25          166.    After months of attempting to sell the home, Plaintiff was forced to satisfy the
26   Ygrene lien at closing so that the purchasers’ lender would approve financing.
27          167.    On May 9, 2017, Plaintiff closed escrow on the sale of his property. Plaintiff was
28   forced to use a portion of the sales price to satisfy Ygrene’s lien, including various fees paid to

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1    Ygrene including a Redemption Premium (5.00% prepayment penalty), a payoff statement fee, an

 2   Administrative Fee, and an Escrow/Custodial Fee.

 3            168.   Based on Ygrene’s misrepresentations and omissions, Plaintiff understood that the

 4   Ygrene loan would transfer to subsequent owners of the property and would not need to be

 5   satisfied as a condition of sale or as a requirement to refinance.

 6            169.   In obtaining a PACE loan through Ygrene, Plaintiff relied to his detriment upon

 7   Ygrene’s omissions and deceptive representations.

 8            170.   Had Plaintiff known the truth about Ygrene’s loan, Plaintiff would not have

 9   entered into an agreement through Ygrene, and would not have agreed to the prepayment penalty.

10   Plaintiff did not agree, and would not have agreed, to pay any of the associated administrative

11   fees at the time he took the loan.

12                                Anthony Look, Jr., and Kimberly Look

13            171.   Plaintiffs, Anthony Look, Jr. and Kimberly Look (“Look Plaintiffs”), are a

14   married couple who purchased their single-family home in Sacramento County, State of

15   California on or about March 2015.

16            172.   Plaintiffs obtained a PACE loan through Ygrene on or about August 2015 to

17   finance the installation of a patio cover and concrete pad.

18            173.   When Plaintiffs visited Ygrene’s website (https://ygreneworks.com) to learn

19   about the program, on or about late July 2015, they watched Ygrene’s promotional video. In this

20   promotional video, Ygrene made the following misrepresentations to Plaintiffs:

21                      “If you sell your property, the payments transfer to the new owners just like

22                       your property tax. So you only pay for what you use.”

23                      “It’s as if your house is borrowing the money, not you personally. As a result,

24                       we don’t need to look at your credit score, verify your employment, or review

25                       your financial statements.”29

26   29
        Defendants have since removed this video from their website. The video viewed by Plaintiff
27   is available at https://www.youtube.com/watch?v=vlzVpTCZB5g; (last accessed on August 21,
     2017). Defendants have replaced the video viewed by Plaintiff with one that states: “If you sell
28   your property, in some cases, payments may transfer to the new owner.” See
     https://ygreneworks.com/; (last accessed on August 21, 2017).
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1           174.    Plaintiffs relied on these statements and would not have proceeded to pursue the

 2   loan if they had known that these statements were false and misleading.

 3          175.    Plaintiffs also emailed and spoke with a Ygrene representative, Megan Smith,

 4   throughout the process of obtaining their Ygrene loan. Consistent with Ygrene’s website and

 5   promotional materials, as well as its corporate policies and procedures, Megan Smith stated that

 6   Ygrene liens are transferable with the property in the event of a sale or refinance, and that the

 7   lien would not have any impact on their ability to sell or refinance the property. Plaintiffs relied

 8   on these representations in deciding to finance their home improvement through Ygrene.

 9          176.    Additionally, Ygrene required that Plaintiffs sign a Unanimous Approval

10   Agreement, a document created by Ygrene, bearing Ygrene’s name and logo, and containing the

11   following deceptive disclosure:

12                  The FHFA appears to have instructed its GSEs not to purchase
                    residential loans where there is a superior lien for qualifying
13                  improvements, such as the special-tax lien. Thus, in order to
                    refinance your residential loan, or for a prospective purchaser of
14                  your property to obtain a loan secured by the property, you may need
15                  to remove the special-tax lien by prepaying the assessment
                    obligation in full.
16
            177.    The documents were sent to Plaintiffs electronically, and Ygrene did not guide
17
     Plaintiffs through the documents before they were executed by Plaintiffs.
18
            178.    At no point in time did Ygrene adequately disclose to Plaintiffs they would almost
19
     certainly have to “pay off” the PACE loan as a “require[ment]” to refinance or as a “condition of
20
     sale.” To the contrary, Ygrene’s representative, Megan Smith, assured Plaintiffs that the lien
21
     would not have to be satisfied because of a sale or refinance.
22
            179.    The home improvement work done to Plaintiffs’ home with the Ygrene financing
23
     was performed by Clark Wagaman Designs, a Ygrene certified contractor. Toney McDonald of
24
     Clark Wagaman Designs told Plaintiffs that the company was authorized to do the work with
25
     Ygrene financing because he had taken a class provided by Ygrene about its program.
26
            180.    On or about April 2017, Plaintiffs attempted to refinance the mortgage on their
27
     home, but they were informed that they needed to pay the PACE loan in order to obtain
28
     financing because the Ygrene lien was a superior lien.
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1            181.    Plaintiffs were forced to satisfy the Ygrene lien, including payment of a

 2   prepayment penalty, payoff statement fee, and administrative fee to Ygrene.

 3           182.    Based on Ygrene’s misrepresentations and omissions, Plaintiffs understood that

 4   the Ygrene loan would transfer to subsequent owners of the property, and would not need to be

 5   satisfied at the time of sale or refinance.

 6           183.    Had Plaintiffs known the truth about Ygrene’s loan, Plaintiffs would not have

 7   entered into an agreement through Ygrene. Plaintiffs would not have agreed to the prepayment

 8   penalty provision and/or would not have financed their home improvement work through Ygrene

 9   had they known that the loan was not transferable with the property or would impede efforts to

10   refinance. Plaintiffs did not agree, and would not have agreed, to pay any of the associated

11   administrative fees at the time they took the loan.

12                         Grachian L. Smith and Mary J. Loudenslager-Smith

13           184.    Plaintiffs, Grachian L. Smith and Mary J. Loudenslager-Smith, are a married

14   couple who own their primary residence located in Hollywood, Florida. Plaintiffs obtained a

15   PACE loan through Ygrene.

16           185.    After learning of the Ygrene program from a roofing contractor, Plaintiffs

17   contacted Ygrene and we referred to Florida Home Improvement Associates, Inc. (“FHI”), a

18   Ygrene “certified” contractor.

19           186.    On or about October 2016, Plaintiffs met with “Rob,” a representative from FHI.

20   Plaintiff, Mary J. Loudenslager-Smith, recalls that “Rob” is a Hispanic male in his 40’s, with dark

21   hair.

22           187.    “Rob” explained the Ygrene program to Plaintiff, Mary J. Loudenslager-Smith,

23   including that there would be no upfront costs and that the payments would be included in their

24   annual property taxes.

25           188.    Additionally, “Rob” stated to Plaintiff, Mary J. Loundenslager-Smith, that she and

26   her husband would not be personally responsible for the Ygrene Loan and that it “would stay with

27   the house.”

28           189.    Plaintiffs relied on these statements and would not have proceeded to pursue the

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1    loan if they had known that these statements were false and misleading.

 2            190.   Additionally, Ygrene required that Plaintiffs sign a Financing Agreement, a

 3   document created by Ygrene, bearing Ygrene’s name and logo, and containing the following

 4   deceptive disclosure:

 5                   The FHFA appears to have instructed its GSEs not to purchase residential
                     loans where there is a superior lien for qualifying improvements, such as
 6                   the assessment lien. Thus, in order to refinance your residential loan, or for
                     a prospective purchaser of your property to obtain a loan secured by the
 7                   property, you may need to remove the assessment lien by prepaying the
 8                   assessment obligation in full….A prepayment premium may be applied on
                     assessments that are paid early.
 9
              191.   The documents were sent to Plaintiffs electronically, and Ygrene did not guide
10
     Plaintiffs through the documents before they were executed by Plaintiffs.
11
              192.   At no point in time did Ygrene adequately disclose to Plaintiffs they would almost
12
     certainly have to “pay off” the PACE loan as a “require[ment]” to refinance or as a “condition of
13
     sale.”
14
              193.   Plaintiffs were charged a Pre-Payment Waiver Fee of $221.34 without explanation.
15
     Plaintiffs did not agree to this fee, and would not have agreed, since pre-payment penalties should
16
     not have been charged by Ygrene at all if its representations that the PACE loans transfer with the
17
     properties were true.
18
              194.   In obtaining a PACE loan through Ygrene, Plaintiffs relied upon Ygrene’s
19
     omissions and deceptive representations to their detriment.
20
              195.   Based on Ygrene’s misrepresentations and omissions, Plaintiffs understood that
21
     their Ygrene loan would transfer to subsequent owners of their home.
22
              196.   Had Plaintiffs known the truth about Ygrene’s loan program, Plaintiffs would not
23
     have entered into an agreement through Ygrene, and would not have agreed to payment of the
24
     Pre-Payment Waiver Fee.
25
                                   Alejandro Marcey and Felicia Marcey
26
              197.   Plaintiffs, Alejandro Marcey and Felicia Marcey, are a married couple who own
27
     their primary residence located in Chula Vista, California. Plaintiffs obtained a PACE loan
28

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1    through Ygrene.

 2          198.    After having applied online for pre-approval via the Ygrene website

 3   (https://ygreneworks.com) in approximately August 2015, a Ygrene-certified contractor, Chad

 4   Fuller of Professional Roofing Services in El Cajon, California, visited Plaintiffs’ home to

 5   provide Plaintiffs with an estimate for a roof replacement and new windows. Mr. Fuller then told

 6   Plaintiffs about various advantages offered by the Ygrene program.

 7          199.    During this initial consultation, Chad Fuller represented to Plaintiffs that Ygrene’s

 8   loans do not have any impact on the ability to sell or refinance, stating that the loans are

 9   “transferable” with the property. Chad Fuller also represented that a HERO program loan would

10   result in a lien on the title of their home, whereas a Ygrene program loan would be through their

11   property taxes and would be considered a Mello Roos special tax that can be fully deductible.

12   Plaintiffs relied on these representations in deciding to finance their home improvement through

13   Ygrene.

14          200.    Prior to entering into the PACE loan, Plaintiffs reviewed Ygrene’s website and

15   marketing materials, including Ygrene flyers provided by Chad Fuller. These flyers advertised

16   “Non-Recourse Financing” and made the following representations:

17                     “If the property is sold, the tax assessment moves with the sale to the new

18                      owner;”

19                     “Because the special assessment appears on the property taxes, you may be

20                      able to expense the entire amount, including the principal and interest;”

21                     “Because the transaction has no effect on your capital budget, it doesn’t affect

22                      your credit outlook. You can enjoy the many benefits of high performance

23                      buildings, while allowing your energy improvement projects to pay for

24                      themselves;” and

25                     “Q: What are the benefits of making payments on my property tax bill? A: It is

26                      a great idea for many reasons. You won’t make your first payment for up to 17

27                      months, payments are tax deductible, and stay with the property when you

28                      move.

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1             201.   Plaintiffs also relied on these representations made in Ygrene flyers when they

 2   were deciding to finance their home improvement through Ygrene.

 3            202.   When Plaintiffs visited Ygrene’s website (https://ygreneworks.com) in August

 4   2015 to learn about the program, they watched Ygrene’s promotional video. In this promotional

 5   video, Ygrene made the following misrepresentations to Plaintiffs:

 6                  “If you sell your property, the payments transfer to the new owners just like your

 7                   property tax. So you only pay for what you use.”

 8                  “It’s as if your house is borrowing the money, not you personally. As a result, we

 9                   don’t need to look at your credit score, verify your employment, or review your

10                   financial statements.” 30

11            203.   Ygrene required that Plaintiffs sign a Unanimous Approval Agreement, a

12   document created by Ygrene, bearing Ygrene’s name and logo, and containing the following

13   deceptive disclosure:
                    The FHFA appears to have instructed its GSEs not to purchase home
14                  loans where there is a superior lien for clean-energy improvements,
15                  such as the special-tax lien. Thus, in order to refinance your home
                    loan, or for a prospective purchaser of your property to obtain a loan
16                  secured by the property, you may need to remove the special-tax lien
                    by prepaying the special-tax obligation in full.
17
              204.   In obtaining a PACE loan through Ygrene, Plaintiffs relied upon Ygrene’s
18
     omissions and deceptive representations to their detriment.
19
              205.   Based on Ygrene’s misrepresentations and omissions, Plaintiffs understood that
20
     their Ygrene loan would transfer to subsequent owners of their home—and that they would not
21
     have to prepay the loan or incur any prepayment penalty.
22
              206.   Had Plaintiffs known the truth about Ygrene’s loan, Plaintiffs would not have
23
     entered into an agreement through Ygrene.
24
              207.   Plaintiffs attempted to refinance in April 2016. They were met with the unexpected
25

26   30
        Defendants have since removed this video from their website. The video viewed by Plaintiff
27   is available at https://www.youtube.com/watch?v=vlzVpTCZB5g; (last accessed on August 21,
     2017). Defendants have replaced the video viewed by Plaintiff with one that states: “If you sell
28   your property, in some cases, payments may transfer to the new owner.” See
     https://ygreneworks.com/; (last accessed on August 21, 2017).
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1    news that they would not be able to refinance without fully satisfying the loan and paying a

 2   prepayment penalty—something they could not afford to do.

 3          208.    After speaking with several lenders, they were forced to accept an FHA loan with

 4   unfavorable terms, on the condition that they take out extra mortgage insurance. Plaintiffs did so,

 5   at an out-of-pocket cost of $267/month.

 6                                 CLASS ACTION ALLEGATIONS

 7          209.    Plaintiffs bring this case as a class action pursuant to Fed. R. Civ. P. 23 on behalf

 8   of themselves and all others similarly situated.

 9          210.    Plaintiffs bring this case on behalf of the following Classes under Fed. R. Civ. P.

10   23(b)(2):
                                  Nationwide Prepayment Penalty Class
11

12                  All persons within the United States who, within the four (4)
                    years prior to the filing of this action, entered into a PACE
13                  financing loan agreement originated and/or facilitated by
                    Ygrene in connection with their primary residence, where the
14                  loan contained a provision for a prepayment penalty.
15
                                 California Prepayment Penalty Subclass
16
                    All persons within the State of California who, within the four
17                  (4) years prior to the filing of this action, entered into a PACE
                    financing loan agreement originated and/or facilitated by
18                  Ygrene in connection with their primary residence, where the
                    loan contained a provision for a prepayment penalty.
19

20                                Florida Prepayment Penalty Subclass

21                  All persons within the State of Florida who, within the four (4)
                    years prior to the filing of this action, entered into a PACE
22                  financing loan agreement originated and/or facilitated by
                    Ygrene in connection with their primary residence, where the
23
                    loan contained a provision for a prepayment penalty.
24
                       Nationwide Prepayment Waiver Fee Class—Not Yet Paid
25
                    All persons within the United States who, within the four (4)
26                  years prior to the filing of this Complaint, entered into a PACE
27                  financing loan agreement originated and/or facilitated by
                    Ygrene in connection with their primary residence, where the
28                  loan contained a provision for a prepayment penalty and/or
                    where Ygrene assessed a Prepayment Waiver Fee.
                                              39
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1               California Prepayment Waiver Fee Subclass—Not Yet Paid
 2
               All persons within the State of California who, within the four
 3             (4) years prior to the filing of this action, entered into a PACE
               financing loan agreement originated and/or facilitated by
 4             Ygrene in connection with their primary residence, where the
               loan contained a provision for a prepayment penalty and/or
 5
               where Ygrene assessed a Prepayment Waiver Fee.
 6
                  Florida Prepayment Waiver Fee Subclass—Not Yet Paid
 7
               All persons within the State of Florida who, within the four (4)
 8             years prior to the filing of this action, entered into a PACE
               financing loan agreement originated and/or facilitated by
 9
               Ygrene in connection with their primary residence, where the
10             loan contained a provision for a prepayment penalty and/or
               where Ygrene assessed a Prepayment Waiver Fee.
11
                 Nationwide Payoff and Administrative Fee Class—Not Yet
12                                       Paid
13
               All persons within the United States who, within the four (4)
14             years prior to the filing of this action, entered into a PACE
               financing loan agreement originated and/or facilitated by
15             Ygrene in connection with their primary residence, and who will
               be required to pay a Redemption Premium (prepayment
16             penalty), a payoff statement fee, an Administrative Fee, and/or
17             an Escrow/Custodial Fee.

18              California Payoff and Administrative Fee Subclass—Not Yet
                                          Paid
19
               All persons within the State of California who, within the four
20             (4) years prior to the filing of this action, entered into a PACE
21             financing loan agreement originated and/or facilitated by
               Ygrene in connection with their primary residence, and who will
22             be required to pay Redemption Premium (prepayment penalty),
               a payoff statement fee, an Administrative Fee, and/or an
23             Escrow/Custodial Fee.
24             Florida Payoff and Administrative Fee Subclass—Not Yet Paid
25
               All persons within the State of Florida who, within the four (4)
26             years prior to the filing of this action, entered into a PACE
               financing loan agreement originated and/or facilitated by
27             Ygrene in connection with their primary residence, and who will
               be required to pay Redemption Premium (prepayment penalty),
28

                                        40
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                   a payoff statement fee, an Administrative Fee, and/or an
1                  Escrow/Custodial Fee.
 2          211.   Plaintiffs bring this case on behalf of the following Classes under Fed. R. Civ. P.
 3   23(b)(3):
 4                          Nationwide Prepayment Penalty Class—Paid
 5
                   All persons within the United States who, within the four (4)
 6                 years prior to the filing of this action, entered into a PACE
                   financing loan agreement originated and/or facilitated by
 7                 Ygrene in connection with their primary residence, and who
                   paid a prepayment penalty.
 8

 9                         California Prepayment Penalty Subclass—Paid

10                 All persons within the State of California who, within the four
                   (4) years prior to the filing of this action, entered into a PACE
11                 financing loan agreement originated and/or facilitated by
                   Ygrene in connection with their primary residence, and who
12
                   paid a prepayment penalty.
13
                             Florida Prepayment Penalty Subclass—Paid
14
                   All persons within the State of Florida who, within the four (4)
15                 years prior to the filing of this action, entered into a PACE
                   financing loan agreement originated and/or facilitated by
16
                   Ygrene in connection with their primary residence, and who
17                 paid a prepayment penalty.

18                     Nationwide Payoff and Administrative Fee Class--Paid
19                 All persons within the United States who, within the four (4)
20                 years prior to the filing of this action, entered into a PACE
                   financing loan agreement originated and/or facilitated by
21                 Ygrene in connection with their primary residence, and who
                   paid a Redemption Premium (prepayment penalty), a payoff
22                 statement fee, an Administrative Fee, and/or an
                   Escrow/Custodial Fee.
23

24                    California Payoff and Administrative Fee Subclass--Paid

25                 All persons within the State of California who, within the four
                   (4) years prior to the filing of this action, entered into a PACE
26                 financing loan agreement originated and/or facilitated by
                   Ygrene in connection with their primary residence, and who
27                 paid Redemption Premium (prepayment penalty), a payoff
28                 statement fee, an Administrative Fee, and/or an
                   Escrow/Custodial Fee.
                                             41
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1                        Florida Payoff and Administrative Fee Subclass--Paid
 2
                    All persons within the State of Florida who, within the four (4)
 3                  years prior to the filing of this action, entered into a PACE
                    financing loan agreement originated and/or facilitated by
 4                  Ygrene in connection with their primary residence, and who
                    paid a Redemption Premium (prepayment penalty), a payoff
 5
                    statement fee, an Administrative Fee, and/or an
 6                  Escrow/Custodial Fee.

 7                  Nationwide Prepayment Waiver Fee Class—Paid

 8                  All persons within the United States who, within the four (4)
                    years prior to the filing of this Complaint, entered into a PACE
 9
                    financing loan agreement originated and/or facilitated by
10                  Ygrene in connection with their primary residence paid a
                    Prepayment Waiver Fee.
11
                    California Prepayment Waiver Fee Subclass— Paid
12
                    All persons within the State of California who, within the four
13
                    (4) years prior to the filing of this action, entered into a PACE
14                  financing loan agreement originated and/or facilitated by
                    Ygrene in connection with their primary residence paid a
15                  Prepayment Waiver Fee.
16                  Florida Prepayment Waiver Fee Subclass—Paid
17
                    All persons within the State of Florida who, within the four (4)
18                  years prior to the filing of this action, entered into a PACE
                    financing loan agreement originated and/or facilitated by
19                  Ygrene in connection with their primary residence paid a
                    Prepayment Waiver Fee.
20

21          212.    Excluded from the Classes are Defendants, their affiliates, personnel, agents and
22   members of the Judiciary. Plaintiffs reserve the right to amend the class definition upon
23   completion of class certification discovery.
24          213.    Numerosity: Plaintiffs are informed and believe, and upon such information and
25   belief aver, that the number of persons in the Classes are so numerous that joinder of all
26   members is impracticable. Plaintiffs are informed and believe, and upon such information and
27   belief avers, that the number of class members is in the thousands. The exact number and
28   identities of the Class members are unknown at this time and can only be ascertained through
                                              42
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1    discovery.

 2          214.     Commonality: There are numerous questions of law and fact common to the

 3   Classes which predominate over any questions affecting only individual members. The common

 4   questions in this case are capable of having common answers. If Plaintiffs’ claims regarding

 5   Defendants’ conduct is accurate, Plaintiffs and the Class members will have identical claims

 6   capable of being efficiently adjudicated and administered in this case. Among the questions of

 7   law and fact common to the Classes are:

 8                a. Whether Defendants engaged in unlawful, unfair and/or fraudulent business acts or
                     practices likely to deceive Plaintiffs and Class Members;
 9
                  b. Whether Defendants intentionally concealed, omitted and/or otherwise failed to
10                   disclose material information to Plaintiffs and Class Members;

11
                  c. Whether Defendants failed to disclose to Plaintiffs and Class Members that they
12                   would be unable to refinance or sell their homes without first satisfying their PACE
                     loans and incurring a pre-payment penalty, and payoff and administrative fees;
13

14                d. Whether Defendants failed to disclose to Plaintiffs and Class Members that they
                     would be charged an unnecessary Pre-Payment Waiver Fee;
15
                  e. Whether Defendants had a duty to disclose the undisclosed material facts to
16                   Plaintiffs and Class Members;
17                f. Whether Plaintiffs and Class Members have sustained damages as a result of the
18                   conduct alleged herein and, if so, what is the proper measure of such damages; and

19                g. Whether Plaintiffs and Class Members are entitled to injunctive and other equitable
                     relief.
20

21          215.     Typicality: Plaintiffs’ claims are typical of the claims of the Class members, as

22   they are all based on the same factual and legal theories, and similar loan documents and

23   disclosures.

24          216.     Adequacy: Plaintiffs are representatives that will fully and adequately assert and

25   protect the interests of the Classes, and have retained competent counsel. Accordingly, Plaintiffs

26   are adequate representatives and will fairly and adequately protect the interests of the Classes.

27          217.     Predominance and Superiority: A class action is superior to all other available

28   methods for the fair and efficient adjudication of this lawsuit, because individual litigation of the

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1    claims of all members of the Classes is economically unfeasible and procedurally impracticable.

 2   While the aggregate damages sustained by Class Members are in the millions of dollars, the

 3   individual damages incurred by each member resulting from Defendants’ wrongful conduct are

 4   too small to warrant the expense of individual lawsuits. The likelihood of individual Class

 5   Members prosecuting their own separate claims is remote, and, even if every member of the

 6   Class could afford individual litigation, the court system would be unduly burdened by

 7   individual litigation of such cases. The prosecution of separate actions by Class Members would

 8   create a risk of establishing inconsistent rulings and/or incompatible standards of conduct for

 9   Defendants. For example, one court might enjoin Defendants from performing the challenged

10   acts, whereas another may not. Additionally, individual actions may be dispositive of the

11   interests of the Classes, although certain class members are not parties to such actions.

12                          FIRST CAUSE OF ACTION
      VIOLATION OF THE “UNFAIR” PRONG OF CAL. BUS. & PROF. CODE § 17200, et
13                  seq. AGAINST YGRENE ENERGY FUND, INC
                               (California Subclasses)
14
            218.    Plaintiffs incorporate and reallege by reference each and every allegation
15
     contained in paragraphs 1-213 as if fully set forth herein.
16
            219.    California’s Business & Professions Code § 17200, et seq. (the “UCL”), defines
17
     unfair business competition to include any “unlawful, unfair or fraudulent” act or practice, as well
18
     as any “unfair, deceptive, untrue or misleading” advertising. Cal. Bus. & Pro. Code § 17200.
19
            220.    A business act or practice is “unfair” under the UCL if the reasons, justifications
20
     and motives of the alleged wrongdoer are outweighed by the gravity of the harm to the alleged
21
     victims.
22
            221.    Defendant violated the “unfair” prong of the UCL through its affirmative
23
     misrepresentations, omissions, and practices described herein.
24
            222.    The gravity of the harm to Plaintiffs and Class Members resulting from these unfair
25
     acts and practices outweighed any conceivable reasons, justifications and/or motives of Defendant
26
     for engaging in such deceptive acts and practices. By committing the acts and practices alleged
27

28

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1    above, Defendant engaged in unfair business practices within the meaning of California Business

 2   & Professions Code § 17200, et seq.

 3          223.    Through its unfair acts and practices, Defendant has improperly obtained money

 4   from Plaintiffs and Class Members. As such, Plaintiffs request that this Court cause Defendant to

 5   restore this money to Plaintiffs and all Class Members, and to enjoin Defendant from continuing

 6   to violate the UCL as discussed herein and/or from violating the UCL in the future. Otherwise,

 7   Plaintiffs and Class Members may be irreparably harmed and/or denied an effective and complete

 8   remedy if such an order is not granted.

 9          224.    Plaintiffs and Class Members demand the applicable relief set forth in the Prayer

10   for Relief below.

11                             SECOND CAUSE OF ACTION
12     VIOLATION OF THE “FRAUDULENT” PRONG OF CAL. BUS. & PROF. CODE §
                 17200, et seq. AGAINST YGRENE ENERGY FUND, INC
13                                 (California Subclasses)

14          225.    Plaintiffs incorporate and reallege by reference each and every allegation

15   contained in paragraphs 1-213 as if fully set forth herein.

16          226.    The UCL defines unfair business competition to include any “unlawful, unfair or

17   fraudulent” act or practice, as well as any “unfair, deceptive, untrue or misleading” advertising.

18   Cal. Bus. & Pro. Code § 17200.

19          227.    A business act or practice is “fraudulent” under the UCL if it is likely to deceive

20   members of the consuming public.

21          228.    Defendant’s representations and omissions as described herein were fraudulent

22   within the meaning of the UCL because they deceived Plaintiffs, and were likely to deceive Class

23   Members.

24          229.    Defendant’s acts and practices as described herein have deceived Plaintiffs and

25   were highly likely to deceive members of the consuming public.

26          230.    As a result of the conduct described above, Defendant has been unjustly enriched

27   at the expense of Plaintiffs and Class Members. Specifically, Defendant has been unjustly enriched

28

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1    by obtaining revenue and profits that it would not otherwise have obtained absent its false,

 2   misleading and deceptive conduct.

 3          231.    Through its unfair acts and practices, Defendant has improperly obtained money

 4   from Plaintiffs and Class Members. As such, Plaintiffs request that this court cause Defendant to

 5   restore this money to Plaintiffs and all Class Members, and to enjoin Defendant from continuing

 6   to violate the UCL as discussed herein and/or from violating the UCL in the future. Otherwise,

 7   Plaintiffs and Class Members may be irreparably harmed and/or denied an effective and complete

 8   remedy if such an order is not granted.

 9          232.    Plaintiffs and Class Members demand the applicable relief set forth in the Prayer

10   for Relief below.
                           THIRD CAUSE OF ACTION
11     VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES
12                                     ACT
                               (Florida Subclasses)
13
            233.    Plaintiffs incorporate and reallege by reference each and every allegation
14
     contained in paragraphs 1-213 as if fully set forth herein.
15
            234.    Plaintiffs assert this cause of action on behalf of themselves and Class Members.
16
            235.    Plaintiffs and Class Members are “consumers” as defined by Florida Statute §
17
     501.203(7), and the subject PACE loan transactions are “trade or commerce” as defined by Florida
18
     Statute §501.203(8).
19
            236.    FDUTPA was enacted to protect the consuming public and legitimate business
20
     enterprises from those who engage in unfair methods of competition, or unconscionable, deceptive,
21
     or unfair acts or practices in the conduct of any trade or commerce.
22
            237.    Defendants violated and continue to violate FDUTPA by engaging in the
23
     unconscionable, deceptive, unfair acts or practices described herein and proscribed by Florida
24
     Statute §501.201, et seq. Defendants’ affirmative misrepresentations, omissions, and practices
25
     described herein were likely to, and did in fact, deceive and mislead members of the public,
26
     including consumers acting reasonably under the circumstances, to their detriment.
27
            238.    Defendants’ actions constitute unconscionable, deceptive, or unfair acts or
28
     practices because, as alleged herein, Defendants engaged in deceptive conduct by misrepresenting
                                              46
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1    and omitting material facts regarding its PACE loans, thereby offending an established public

 2   policy, and engaging in immoral, unethical, oppressive, and unscrupulous activities that are

 3   substantially injurious to consumers.

 4          239.    Defendants violated FDUTPA by engaging in unfair and deceptive practices, which

 5   offend public policies and are immoral, unethical, unscrupulous and substantially injurious to

 6   consumers.

 7          240.    Defendants’ marketing and written disclosures with respect to its PACE loans are

 8   inherently deceptive and unfair and are, therefore, a practice that is in violation of FDUTPA.

 9          241.    As a direct and proximate result of Defendants’ deceptive practices, Plaintiffs and

10   Members of the Class participated in Ygrene’s loan programs, and they would not have done so

11   had they known the truth about Ygrene’s PACE loans.

12          242.    FDUTPA specifically provides for injunctive relief relating to alleged unfair and

13   deceptive trade practices. Without an injunction preventing Defendants from continuing to mislead

14   consumers, Plaintiffs and Class Members will continue to suffer damages.

15          243.    Pursuant to Florida Statute § 501.211(1), Plaintiffs seek a declaration that

16   Defendants’ deceptive conduct has violated and continues to violate FDUTPA, and seek injunctive

17   relief regarding Defendants’ past and continuing deceptive conduct. Plaintiffs reserve the right to

18   allege other violations of FDUTPA as Defendants’ conduct is ongoing.

19          244.    In addition, pursuant to Florida Statutes §501.211, Plaintiffs and Class Members

20   seek equitable relief and to enjoin Defendants on terms that the Court considers reasonable.

21   Plaintiffs also seek reasonable attorneys’ fees and costs, as well as statutory damages as prescribed

22   by §§ 501.211(2) and 501.2075.

23          245.    Plaintiffs and Class Members demand the applicable relief set forth in the Prayer

24   for Relief below.

25                               FOURTH CAUSE OF ACTION
                          TORTIOUS INTERFERENCE WITH CONTRACT
26                                   (California Subclasses)
27          246.    Plaintiffs incorporate and reallege by reference each and every allegation contained
28   in paragraphs 1-213 as if fully set forth herein.
                                               47
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1             247.     Plaintiffs entered into PACE loan agreements with various special districts as

 2   alleged herein.

 3            248.     At all times, Defendants were aware of the existence of these PACE loan

 4   agreements between, on the one hand, Plaintiffs and the class members and, on the other, the

 5   special districts.

 6            249.     Defendants tortiously interfered with these contractual relationships and prevented

 7   Plaintiffs and the class members from obtaining the full benefits of their contractual relationship

 8   with the special districts.

 9            250.     The UAA and Financing Agreements nowhere authorize Defendants to charge

10   excessive and unreasonable administrative fees and prepayment penalties.

11            251.     Defendants imposed unreasonable penalties and fees on Plaintiffs and members of

12   the class.

13            252.     Therefore, Defendants tortiously interfered with the performance of Plaintiffs’ and

14   the class members PACE loan agreements.

15            253.     Defendants’ tortious interference has resulted in an actual breach of Plaintiffs’ and

16   the class members’ contracts because Plaintiffs and the class members have been assessed fees

17   and penalties not authorized by the UAA and Financing Agreements.

18            254.     As a direct, proximate, and foreseeable result of Defendants’ tortious interference

19   with Plaintiffs and the class members’ contracts, Plaintiffs and the class members have been legally

20   injured and sustained damages by not receiving the full benefit of their contractual bargain.

21            255.     Plaintiffs and the class members have performed all, or substantially all, of the

22   obligations imposed on them under the UAA and Financing Agreements.

23            256.     As a direct result of Defendant’s breaches, Plaintiffs and members of the Class have

24   sustained economic losses and are entitled to compensatory damages in an amount to be proven at

25   trial.
                                        FIFTH CAUSE OF ACTION
26                                     FRAUDULENT INDUCEMENT
27                                          (Nationwide Classes)
              257.     Plaintiffs incorporate and reallege by reference each and every allegation
28

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1    contained in paragraphs 1-213 as if fully set forth herein.

 2            258.   Defendants had a duty to make full and adequate disclosures to Plaintiffs and Class

 3   Members regarding the nature of its loans, as well as all associated penalties and fees.

 4            259.   Defendants made materially false statements and omissions regarding its PACE

 5   loans to Plaintiffs and Class Members.

 6            260.   These facts constitute material information that Plaintiffs and the Class Members

 7   would have deemed material when deciding whether to purchase the loan products at issue.

 8            261.   In situations where Defendants made some disclosures, Defendants made only

 9   partial representations while suppressing material facts, as alleged herein.

10            262.   Defendants’ concealment, omissions, and partial representations occurred prior to

11   the consummation of the loan transactions with Plaintiffs and the Class Members and are continued

12   in the terms of the loan documents.

13            263.   Had Defendants disclosed this information, Plaintiffs and the Class Members

14   would not have agreed to the subject PACE loans on these terms.

15            264.   At all relevant times, Defendants actively concealed and suppressed these material

16   facts from Plaintiffs and Class Members. Defendants had superior knowledge of the concealed

17   facts.

18            265.   Defendants had knowledge that their materially false statements and omissions

19   regarding its PACE loans were false when made.

20            266.   In making materially false statements and omissions regarding the PACE loans, it

21   was Defendants’ intention to induce Plaintiffs and Class Members to rely on the materially false

22   statements and omissions to enter into the subject PACE loans.

23            267.   In entering into the subject PACE loans, Plaintiffs and Class Members reasonably

24   relied and acted upon the materially false statements and omissions made by Defendants.

25            268.   Plaintiffs and Class Members have suffered damages as a result of their reasonable

26   reliance upon Defendants’ materially false statements and omissions set forth above.

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1           269.    As a direct and proximate result of Defendants’ intentional omissions and

 2   misrepresentations of material fact, as alleged herein, Plaintiffs and Class Members have suffered

 3   damages.

 4          270.    Plaintiffs and Class Members demand the applicable relief set forth in the Prayer

 5   for Relief below.
                                    SIXTH CAUSE OF ACTION
 6                               NEGLIGENT MISREPRESENTATION
 7                                      (Nationwide Classes)
            271.    Plaintiffs incorporate and reallege by reference each and every allegation
 8
     contained in paragraphs 1-213 as if fully set forth herein.
 9
            272.    Defendants had a duty to Plaintiffs and Class Members to fully disclose the true
10
     nature of its loan products, as well as all associated penalties and fees.
11
            273.    Defendants breached their duty and were negligent to Plaintiffs and Class Members
12
     by failing to clearly and adequately advise Plaintiffs and Class Members of all material information
13
     regarding its loan products.
14
            274.    Defendants knew or should have known that its wrongful acts and omissions would
15
     cause damages to Plaintiffs and Class Members
16
            275.    Defendants’ conduct has directly and proximately caused damage to Plaintiff and
17
     Class Members.
18
            276.    Plaintiffs and Class Members demand the applicable relief set forth in the Prayer
19
     for Relief below.
20
                                     SEVENTH CAUSE OF ACTION
21                                      UNJUST ENRICHMENT
                                          (Florida Subcasses)
22
            277.    Plaintiffs incorporate and reallege by reference each and every allegation
23
     contained in paragraphs 1-213 as if fully set forth herein.
24
            278.    Plaintiffs and Class Members conferred a benefit upon Defendants in the form of
25
     various origination and closing fees, prepayment fees, administrative fees, and other fees and
26
     payments.
27
            279.    Defendants had knowledge of the benefits conferred upon them by Plaintiffs and
28
     Class Members.
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1           280.    Defendants voluntarily accepted and retained the benefits conferred upon them by

 2   Plaintiffs and Class Members.

 3          281.    Under the circumstances, it would be inequitable for Defendants to retain the

 4   benefit conferred upon them by Plaintiffs and Class Members.

 5          282.    Defendants have been unjustly enriched and are required to refund Plaintiffs and

 6   Class Members the benefits they conferred upon Defendants.

 7          283.    Plaintiffs and Class Members demand the applicable relief set forth in the Prayer

 8   for Relief below.
                                      EIGHTH CAUSE OF ACTION
 9                                          NEGLIGENCE
10                                        (Nationwide Classes)
            284.    Plaintiffs incorporate and reallege by reference each and every allegation
11
     contained in paragraphs 1-213 as if fully set forth herein.
12
            285.    Defendants had a duty to fully disclose to Plaintiffs and Class Members the true
13
     nature of its loan products, as well as all associated penalties and fees.
14
            286.    Defendants breached their duty by failing to provide adequate disclosures to
15
     Plaintiffs and Class Members.
16
            287.    Defendants knew or should have known that their wrongful acts and omissions
17
     would cause damage to Plaintiffs and Class Members.
18
            288.    Defendants’ conduct has directly and proximately caused damages to Plaintiffs and
19
     Class Members.
20
            289.    Plaintiffs and Class Members demand the applicable relief set forth in the Prayer
21
     for Relief below.
22
                                          PRAYER FOR RELIEF
23
            WHEREFORE, Plaintiffs and the Class respectfully request the following and pray for
24
     judgment as follows:
25
          1.        For a declaration that this lawsuit may properly be maintained as a class action
26
     and certifying the Class claims herein;
27
          2.        Award Plaintiffs and Class Members injunctive relief in the form of a promise not
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1    to charge prepayment penalties; a promise not to charge unauthorized administrative fees; and

 2   that Ygrene adopt the practice of providing adequate disclosures.

 3         3.       Award Plaintiffs and Class Members damages flowing from the requested

 4   injunction;

 5         4.       Appoint the undersigned as Class Counsel;

 6         5.       Appoint Plaintiffs as Representatives of the Class;

 7         6.       Award other declaratory and injunctive relief as permitted by law;

 8         7.       Award reasonable attorneys’ fees, filing fees, expert fees, and costs of suit to

 9   counsel based upon the benefit received by Plaintiffs and Class;

10         8.       Award Plaintiffs and Class Members actual damages;

11         9.       Award Plaintiffs and Class Members attorneys’ fees and all litigation costs; and

12       10.        Award Plaintiffs and Class Members any further relief that the Court deems just

13   and proper.

14                                    DEMAND FOR JURY TRIAL

15           Plaintiffs, on behalf of themselves and the Class, hereby demand a jury trial for all issues

16   so triable.

17

18   Dated: August 25, 2017

19                                  KASDAN LIPPSMITH WEBER TURNER LLP

20
                                    By:            /s/ Graham B. LippSmith
21                                                 GRAHAM B. LIPPSMITH
22                                                 JACLYN L. ANDERSON

23                                                 TYCKO &ZAVAREEI LLP
                                                   JEFFREY D. KALIEL
24                                                 ANNICK M. PERSINGER
                                                   SOPHIA J. GOREN
25

26                                                 HIRALDO P.A.
                                                   MANUEL S. HIRALDO
27
                                                   Attorneys for Plaintiffs
28

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                                      CERTIFICATE OF SERVICE
1
            I hereby certify that on August 25, 2017, I electronically filed the SECOND AMENDED
 2
     CLASS ACTION COMPLAINT with the Clerk of the Court, using the CM/ECF system, which
 3
     will send notification of such filing to the counsel of record in this matter who are registered on the
 4
     CM/ECF system to receive service.
 5                                                     /s/ Graham B. LippSmith
 6                                                     Graham B. LippSmith

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                              SECOND AMENDED CLASS ACTION COMPLAINT
